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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
     * * * * * * * * * * * * * * * *
    UNITED STATES OF AMERICA,         ) Criminal Action
                                      ) No. 21-738
    vs.                               )
                                      )
    MICHAEL OLIVERAS,                 ) November 16, 2023
                                      ) 10:08 a.m.
                   Defendant.         ) Washington, D.C.
     * * * * * * * * * * * * * * * *

                           TRANSCRIPT OF TRIAL
                 BEFORE THE HONORABLE BERYL A. HOWELL
                UNITED STATES DISTRICT COURT SENIOR JUDGE

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    Court Reporter:        Elizabeth Saint-Loth, RPR, FCRR
                           Official Court Reporter

              Proceedings reported by machine shorthand.
         Transcript produced by computer-aided transcription.
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                            P R O C E E D I N G S

                 THE COURTROOM DEPUTY:     Your Honor, this is

    Criminal Case 21-738, United States of America versus

    Michael Oliveras.

                 Will the parties please come forward to the

    lectern, identify yourselves for the record.            We'll start

    with government counsel first this morning.

                 MS. AKERS:     Good morning, Your Honor.

    Ashley Akers on behalf of the United States.            With me is my

    co-counsel Victoria Sheets, our FBI Task Force Officer

    Lauren Laielli, and our paralegal specialist Rachel

    Marcelin.

                 THE COURT:   Good morning.

                 MR. SHIPLEY:     Good morning, Your Honor.

    William Shipley on behalf of the defendant, Michael

    Oliveras, who is present in the courtroom.

                 THE COURT:   All right.     Let's just begin, first

    off, with the proposed addition to the jury instruction for

    Count 3 that Mr. Shipley raised on behalf of the defendant

    yesterday.

                 Mr. Shipley, is there anything you want to add to

    your arguments on that?

                 MR. SHIPLEY:    No, Your Honor.

                 THE COURT:     Does the government want to respond

    now that you have had an evening to think about their
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    proposed instruction addition?

                 MS. AKERS:   Nothing much, Your Honor, other than

    we continue to object to it.        We think that the case that

    Mr. Shipley cited is dicta; it was, in fact, a case that was

    heard before that amendment to 18 U.S.C. 111, which Your

    Honor noted yesterday.      So we would object to the inclusion

    of it.     We think Your Honor's instructions accurately recite

    the law.

                 THE COURT:   All right.     I am just going to

    detail -- having now had an opportunity to read the Duran

    case, I am just going to detail my understanding of the

    proposed addition to Count 3 -- the Count 3 instruction, and

    my reasons for rejecting it.

                 At the charging conference yesterday, on

    November 15th, defendant proposed an additional instruction

    for Count 3, assaulting, resisting, or impeding officers

    beyond what the parties had agreed to and proposed in the

    joint pretrial statement.

                 Specifically, the defendant has proposed that in

    addition to the, I think, five elements already required for

    the government to prove violation of 18 U.S.C. Section 111

    that -- including that the conduct be done forcibly, that

    the defendant's conduct be voluntary and intentional, the

    defendant proposes that the government also be required to

    prove beyond a reasonable doubt that the charged conduct of
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    assaulting, resisting, opposing, impeding, intimidating, or

    interfering with officers was committed with the intent to

    commit bodily injury.

                Do I have that right, Mr. Shipley?

                MR. SHIPLEY:    Yes, Your Honor.

                THE COURT:     So defendant believes that U.S. v.

    Duran, 96 F.3d 1495, a D.C. Circuit case from 1996, requires

    the additional proposed instruction.          I reject this belated

    proposed additional element to the instruction to Count 3

    for several reasons.

                In Duran, the D.C. Circuit interpreted the version

    of 18 U.S.C. Section 111 in place in 1996 in the context of

    the defendant's offense conduct of shooting at Secret

    Service agents outside the White House.              Ultimately, the

    Circuit affirmed the defendant's conviction under 18 U.S.C.

    Section 111 for forcibly assaulting, resisting, opposing,

    impeding, intimidating, or interfering with four Secret

    Service agents who were in the line or in the general

    location of where the defendant was firing his weapon

    because of the use of a dangerous weapon that the purpose of

    causing the agents to fear imminent, serious bodily injury.

                To reach this conclusion, the D.C. Circuit

    consulted and essentially imported the Model Penal Code's

    definition of "assault" to establish the mens rea

    requirement under Section 111 in order to distinguish
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    between the "simple assault" offense conduct that triggers

    only misdemeanor penalties versus this nonsimple assault

    offense conduct that triggers the felony penalties.

                The statute, to put it bluntly, has a slightly

    awkward penalty structure, and the Circuit turned to the

    Model Penal Code to help clarify the difference in mental

    state requirements for a simple assault and aggravated

    assault under Section 111.

                As I read Duran, the Circuit was clearly focused

    only on the "assault" element of Section 111, given that the

    facts of the case involve shootings with a deadly weapon

    towards Secret Service officers who didn't suffer any bodily

    injury.

                At the same time that the Circuit looked to the

    Model Penal Code mens rea requirements, the Duran court

    itself acknowledged this was not really a good fit and that

    the Model Penal Code cannot comfortably be squared with the

    overall federal statute, even as it existed in 1996 in

    Section 111.     As the Circuit explains, Section 111 actually

    reflects, and I quote:      "A legislative intent to diverge

    from the common law definition in regard to the significance

    of the use of a deadly weapon or dangerous weapon in setting

    the level of the assault."          This was because the Model Penal

    Code assault definition could only be matched up with the

    specific intent requirement, whereas the statute did not
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    require that.

                The court was not obviously focused on the other

    terms present in Section 111 and, thus, Duran does not

    support reading an additional mens rea requirement into

    those various other terms other than "assault."

                Duran was only briefly mentioned again by the D.C.

    Circuit in a footnote in U.S. v. Arrington, 309 F.3d 40,

    jump cite 46, number 11, a D.C. Circuit case from 2002,

    where the D.C. Circuit notes that the statement, quote:

    "The act of using a deadly weapon with the purpose of

    causing Secret Service agents to fear imminent serious

    bodily injury constituted a crime punishable by 10 years

    imprisonment under Section 111."

                It goes on to say that this was not intended to

    describe a generally applicable element of the

    Section 111(b) offense but rather to summarize the evidence

    against the defendant Duran.

                So in this footnote that the Circuit did in 2002

    seemingly was to cabin its analysis in Duran to the facts of

    that case where there was no evidence that the defendant

    assaulted those Secret Service agents by attempting to cause

    them bodily injury.      I think the defense in the Duran case

    was a death wish.      I think the defendant was claiming an

    insanity defense, and that took up most of the Duran

    opinion; and there was certainly some implication in the
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    Duran opinion that this was a defendant who wanted to be

    murdered by cop.      So rather than hurting the Secret Service

    agents, he wanted to provoke the Secret Services agents to

    injure the defendant.

                So it's clear that, I think -- it's made clear by

    the Circuit in Arrington, which was cabined in the Duran

    analysis, that the evidence against Duran constituted a

    different category of assault, attempting to put officers in

    fear of imminent serious bodily injury, and certainly wasn't

    intended to describe an additional element requirement

    applicable to all of the different conduct covered by

    Section 111.

                I know that Duran has been criticized by the

    Second Circuit in U.S. v. Chestaro, 197 F.3d 600, a Second

    Circuit case from 1999, where the Second Circuit noted that

    Duran incorrectly, in our view, under the Model Penal Code

    to define "simple assault" in Section 111 as including

    conduct that results in bodily injury.

                And so I think that Duran hasn't had strong legs

    either in this Circuit or in other circuits.

                A proposed instruction similar to the one the

    defendant raises here has been considered and rejected by

    other judges on this court.         As Mr. Shipley mentioned

    yesterday, he thought that Judge McFadden and Judge

    Friedrich had rejected a similar kind of proposed
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    instruction.     And I did check with both of them last night

    and, Mr. Shipley, you were right on that.

                Judge McFadden made clear in U.S. v. McCaughey,

    21-CR-40, in which the government also charged 111(a) and

    (b), but the requirement of causing serious bodily injury is

    only included in the statute in Section 111(b), which hasn't

    been charged here in this case; see the transcript on

    July 20th, 2023, at page 32 of that hearing.

                Based on the Court's research, it doesn't appear

    that the D.C. Circuit has ever indicated that the Model

    Penal Code mens rea requirement that it read into the

    assault component of Section 111 in Duran should be applied

    to any of the other terms in the statute, as the defendant

    now urges here.

                That's also what Judge McFadden indicated in

    McCaughey at a September 13th, 2022, hearing, where he said

    that the attempt or threat to inflict injury upon someone

    else applies only to the assault term in Section 111 and not

    to the terms:        Resist, oppose, impede, intimidate, and

    interfere which carry their ordinary meaning.

                In that case, Judge McFadden found that the

    rioters forming a barrier to prevent the officers from

    pushing the crowd out of the tunnel qualified as resisting,

    opposing, impeding, and interfering under Section 111, and

    also rejected the defendant's argument that he did not know
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    that by pushing along with other rioters he was impeding and

    interfering with officers at the front line of the rioters.

                I think, as I mentioned yesterday, Duran -- you

    know, I have a serious question whether the Duran holding

    still holds, in part, because Duran hasn't been considered

    by the Circuit since 1996; and there were significant

    amendments to 18 U.S.C. 111 in 2002, 2008, and in 2021 that

    involved both substantive and penalty changes in the

    statute.

                So the Duran holding very helpfully repeated the

    specific statutory texts that the Circuit was considering,

    and it's very different from the statute that faces us

    today.

                Finally, I find that the instruction that the

    parties jointly proposed accurately reflects the statute.

    18 U.S.C. Section 111 requires the government to prove that

    the defendant forcibly assaulted, resisted, impeded,

    intimidated, or interfered with an officer or employee of

    the United States.      And the use of the disjunctive "or"

    makes clear that the conduct may take various forms that

    differ from assault.

                The defendant's proposed instruction doesn't track

    the statutory language.      As I was mentioning yesterday, the

    statutory text seems pretty clear and, to my mind, would

    likely to confuse the jury.         It also seems to suggest that
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     assault, resistance, impedence, intimidation, or

     interference all require an apparent ability or an actual

     injury or threatening act that easily would create in

     another person a fear of immediate injury, but that isn't

     true.   For instance, a person who uses force to hold a

     police officer back from pursuing a suspect forcibly impedes

     the officer, even though it might not injure or have the

     apparent ability to injure her; see U.S. v. Frizzi, 491

     F.2d. 1231, 1232, a First Circuit case from 1974, finding

     that spitting on a mail carrier falls within Section 111.

     See also U.S. v. Sommerstedt, 752 F.2d 1494, jump cite 1496,

     Ninth Circuit from 1985, finding that shoving a prosecutor

     in a courthouse hallway qualifies as a variation of Section

     111.

                 So for all of these reasons in the statutory text,

     changes in the statutes since Duran, the actual limited, I

     think, holding of Duran, I reject the defendant's proposed

     addition to the instruction to Count 3.

                 All right.     Now are we ready to bring the jury in?

                 For the government?

                 MS. AKERS:     Yes, Your Honor.

                 THE COURT:    Mr. Shipley?

                 MR. SHIPLEY:    Yes, Your Honor.

                 THE COURT:    All right.    So let's bring the jury in.

                 Mr. Shipley, I think you formally rested on the
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     record.

                  MR. SHIPLEY:    If the record is unclear, the

     defendant chooses to present no defense.

                  THE COURT:   All right.    And the government -- just

     so the record is clear, the government has no rebuttal case

     and is ready to proceed with summation?

                  MS. AKERS:   That is correct.

                  THE COURT:   All right.

                  (Whereupon, the jury returns to the courtroom.)

                  THE COURT:   Good morning, ladies and gentlemen.        I

     realized after I excused you yesterday that I actually had

     another matter on this morning, which is the reason we had a

     slight delay this morning because I have a number of other

     cases as well that require my attention.

                  We're now ready to proceed to summations in this

     case.     The way this goes is the government gives its

     summation, then the defendant can make their closing

     argument -- make closing arguments to you, then the

     government has an opportunity to make a rebuttal summation,

     and then I give you your final instructions so that you can

     begin your deliberations.       So that's what we're doing today.

                  Is the government ready to proceed with summation?

                  MS. AKERS:   Yes, Your Honor.

                  THE COURT:   Okay.

                  MS. AKERS:     Can you all see the screen in front of
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     you?

                 THE JURORS:    Yes.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:    Members of the jury, to the defendant,

     Michael Oliveras, the members of Congress were traitors.

     They were traitors because they were set to certify the

     results of the 2020 presidential election.

                 To Michael Oliveras, police officers were

     traitors.     They were traitors because they were guarding and

     protecting the United States Capitol Building and the people

     inside of it on January 6th.       And to the defendant, Michael

     Oliveras, members of the media were traitors.            They were

     traitors because they reported on the results of a

     presidential election that he didn't agree with.

                 Michael Oliveras did everything he could on

     January 6, 2021, to stop the traitors, to stop the

     certification of the Electoral College vote.            And he stopped

     at nothing.    Barriers, like bike racks, did not matter to

     Michael Oliveras.     Police officers in lines did not matter

     to Michael Oliveras.      The chaos, the melee, the sirens, the

     broken glass -- none of it mattered to Michael Oliveras; not

     even police officer commands to "move back," to get out,

     because he had a plan.

                 The evidence presented at this trial showed that

     his plan started in December of 2020.          He planned to come to
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     the Capitol to stop the certification.          You heard -- you saw

     a text message or Parler messages that showed that he booked

     a hotel close to the Capitol so that he could have realtime

     access.     He rented a car to travel here.         He corresponded

     with others and encouraged them to come.            He was, quote,

     American flag emoji, "ready for war."

                  For his actions on January 6, 2021, Michael

     Oliveras has been charged with seven counts.

                  Today, this morning, I am going to go through

     these counts with you and the elements of each count and

     summarize the evidence that you heard at trial that shows

     that the government has proven each and every count beyond a

     reasonable doubt.

                  As Judge Howell has already instructed you, my

     words are not evidence, Mr. Shipley's words are not

     evidence.    The evidence is the evidence.          In this case, you

     saw a lot of video footage, you saw a lot of Parler posts,

     you saw photos, and you heard from several witnesses; that's

     the evidence that will prove beyond a reasonable doubt all

     of these counts.

                  I am going to start with Count 1, which is civil

     disorder.

                  To find Michael Oliveras guilty of civil disorder,

     there are three elements.

                  I encourage the members of the jury to keep the
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     stipulations in mind as we go through each of these counts

     because the parties have stipulated to things that will help

     you during your deliberations.

                 For example, the parties have stipulated, in

     Government Exhibit 1, that what happened on January 6, 2021,

     was a civil disorder.      As Judge Howell instructed you:           When

     the parties stipulate to something, you should take that to

     be fact; take it to be true.       There was a civil disorder on

     January 6, 2021.

                 The first element that the government must prove

     is that the defendant knowingly committed an act with the

     intended purpose of obstructing, impeding, or interfering

     with law enforcement officers.

                 You will get all of these instructions when you

     return to the jury room, so you don't need to write it

     verbatim.

                 The evidence that you heard in this trial

     overwhelmingly shows that the defendant obstructed, impeded,

     and interfered with law enforcement officers.            You heard

     testimony and you saw video of Mr. Oliveras on the west

     front.   He was pushing into a unit of police officers that

     was swarmed by rioters.

                 You saw, in Government Exhibit 503, rioters

     throwing objects at the police officers.            One officer got

     hit in the head with a big speaker and fell over.             The
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     defendant was part of the group that swarmed that line of

     officers, that unit of officers.        He handed his flagpole to

     another rioter.     He bent over, he pushed, and he yelled at

     the police -- or excuse me, he yelled to the fellow rioters

     to "hold the fucking line."

                  And he didn't stop there.      Later in the day, as

     you saw on the upper northwest terrace, he was again

     confronted by police officer commands to leave, to "move

     back," to get out.     And again, he obstructed and he

     interfered with the police officers.         He refused to move.

     He stood brazenly at the front of the line of rioters,

     looked the officers in the eye, and refused to comply with

     their commands.

                  He also berated the officers.          And as you saw,

     this was in the midst of the civil disorder, this was in the

     midst of the chaos.     This was when the officers were trying

     to get to the line to support their other officers, and they

     couldn't because people like Michael Oliveras stood on the

     ledge and -- rather than letting the officers -- screamed;

     he pointed at them and yelled "fuck you."

                  You heard United States Capitol Police Officer

     Amendola testify that the defendant also obstructed their

     efforts at the Senate wing door.        You saw a lot of video of

     that Senate wing door because the defendant was there for a

     long time.    He was yelling things like "push."           He was
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     yelling things like "fight for Trump," "this is our house."

                 All of these actions throughout the course of the

     day show that the defendant meets the first element of

     disorder -- excuse me, the evidence meets the first element

     of civil disorder.

                 Second, to find the defendant guilty of civil

     disorder:    At the time of the defendant's act, law

     enforcement officers have to be engaged in the lawful

     performance of their official duties incident to and during

     a civil disorder.     We already know there was a civil

     disorder.    And for this element, the parties again have

     stipulated to the element.

                 So if you review Government Exhibit No. 1, you

     will see that the parties have agreed that the law

     enforcement officers were engaged in their official duties

     during a civil disorder.      That element is met.

                 The third element is that the civil disorder in

     any way or degree obstructed, delayed, or adversely affected

     either commerce or the movement of any article or commodity

     in commerce, or the conduct or performance of any federally

     protected function.     That element is also agreed to by

     stipulation.    You will see Government Exhibit 1, and the

     parties have agreed that that element is met.

                 So when you return to the jury room to deliberate

     and render your verdict, you can rely on the stipulations
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     for the third element.

                  Now, there is another path that you can find the

     defendant guilty of civil disorder, and that's if he

     attempted civil disorder.      This is not a separate charge,

     it's the same charge; it's just a different way to get

     there.     Either he did engage in a civil disorder or he

     attempted to.

                  And the jury instructions will instruct you that

     to find Mr. Oliveras guilty of attempt, he has to have

     intended to commit the crime of civil disorder and he has to

     have taken a substantial step toward committing a civil

     disorder.    And he did, for all of the reasons that I just

     went through during the civil disorder presentation.             He

     pushed the officers forcibly, he yelled at the officers, he

     swarmed the officers, he refused the officers' commands and

     demands.    Mr. Oliveras is guilty of civil disorder.

                  Now, on the verdict form you will not only see

     this line, but you'll also see two other lines.            And these

     two other lines that you have to render a determination on

     are the two things that I told you the parties already

     agreed to by stipulation:      One, that the civil disorder

     affected commerce or the movement of any article or

     commodity in commerce; that's in a stipulation; and, two,

     that the civil disorder affected the conduct or performance

     of a federally protected function.         So those are met.
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                 On to Count 2, obstruction of an official

     proceeding.    To find the defendant guilty of an obstruction

     of an official proceeding there are four elements.             The

     first is that the defendant attempted to or did obstruct or

     impede an official proceeding.       The evidence you heard at

     trial established there was, in fact, an official

     proceeding.

                 You saw the montage video that was a summary of

     the proceedings that were going on on January 6th; and you

     will also see in the stipulations, Government Exhibit 1,

     that the parties have agreed that the official proceeding

     was ongoing on January 6.

                 So whether the defendant attempted to or did

     obstruct or impede an official proceeding, you will have to

     consider whether he blocked, interfered with, or slowed the

     progress of the official proceeding; and we know that he and

     the mob that he joined did.

                 You have heard testimony and you saw evidence

     presented that there was an official proceeding going on in

     Congress.    You also heard evidence that the mob overtook the

     Capitol Building and grounds.       Captain Tia summers described

     to you -- and she was near the Capitol Building and watching

     it in realtime -- what was going on.         She described to you

     how the mob of rioters came on the west front and quickly

     overtook the police lines and made it into the building, and
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     created an emergency situation for the members of Congress

     and the officers protecting them.

                 You also heard from United States Secret Service

     Inspector Lanelle Hawa, circled there in the CCTV footage

     (indicating).       She told you on the stand that this was the

     moment when she was about to evacuate the Vice President of

     the United States out of Congress and his office near the

     Senate because of the security breach, because his safety

     was at risk; and it was because of the mob.

                 You saw on the montage video and you heard

     testimony from Captain Summers and Lanelle Hawa that there

     was a recess because of the mob.

                 Members of the jury, that meets the first element

     of obstruction of an official proceeding.            The defendant did

     stop the certification.

                 Second, the defendant has to have intended to

     obstruct or impede the proceeding.

                 The evidence here, members of the jury, was

     overwhelming.       It started all the way back in November of

     2020 when you saw the defendant started going to Stop the

     Steal rallies, started his rhetoric of having to take the

     country back.       He believed, as you heard, that the election

     was stolen; and he was bound to stop that from happening.

                 You heard TFO Laielli describe to you the pattern

     of the defendant's rhetoric about stopping the certification
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     and stopping Congress and stopping the traitors.            So it

     started in November of 2020, and it continued.

                  You saw Parler posts where he started in December

     talking about coming to Washington, D.C.            You saw posts

     where he was quoting January 6th and saying:            Who will be in

     D.C.?     He wanted as many people there as possible.

                  You saw Parler posts that indicated that he

     thought nothing could stop what is coming.           He knew what was

     coming, he was planning for it.        He was intending to stop

     Congress.

                  You also saw evidence that he knew what

     January 6th was.     He knew Congress was certifying the

     results of the election on that date.

                  (Whereupon, an exhibit was published.)

                  MS. AKERS:   For example, you saw this Parler post

     where another user was saying:       Hashtag do not certify on

     January 6, and describing the process.

                  And the defendant responded.       He said that he

     would be there.     He was booked.     All the way back in

     December of 2020.     He was ready to ensure that Congress was

     stopped, that was his intention.

                  But it's not only his words that you learned about

     in trial, it is also his actions that are indicative of his

     intent.

                  You saw evidence presented at trial that as soon
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     as Michael Oliveras got to the Capitol grounds at 1 p.m., in

     that first wave of rioters, he was intent on the Capitol

     Building.    He was pointing at the Capitol Building.            He was

     looking to it.      He was directing to it.         He was pushing

     through officers to get to the Capitol Building.             His eyes

     were on that prize.      He did everything he could because he

     intended to stop Congress.

                  And his intent can also be shown by the number of

     times he went in the building.       Three separate times Michael

     Oliveras went into the Senate wing door.            He was stopped by

     police officers the second two times so he didn't make it

     very deep.    But we know the first time he made it all the

     way into the Crypt, which you learned was the center of the

     Capitol Building.

                  And then after January 6th you also learned of his

     intent back on January 6.      He said, for example, that he

     entered for the purpose of extracting traitors, which you

     learned was the members of Congress.

                  Members of the jury, Michael Oliveras intended to

     stop Congress on January 6th.

                  The next element of obstruction of an official

     proceeding is whether he acted "knowingly" with the

     awareness that the natural and probable effect of his

     conduct would be to obstruct the proceeding.             This is one of

     those elements that is a little bit of common sentence.               Of
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     course the result would be an obstruction of Congress when

     you join a member of a mob and you storm the Capitol

     Building.

                  Then you also have his words.          You have his words,

     for example, in December of 2020 when he was saying that:

     It would be very effective, indeed, if there were a Capitol

     full of patriots who had had enough and decided to rip them

     out of their chairs by their hair and drag them down the

     steps.

                  He knew that would be effective, that's why he

     planned for it.

                  You saw evidence and you heard testimony that

     Michael Oliveras knew the proceeding was happening on

     January 6.     He wanted his preferred candidate to remain in

     office.     He prepared for violence.      He planned ahead of

     time.     He joined that initial surge of rioters.          He entered

     three times, and he stayed five hours on Capitol grounds.

     He acted knowingly.

                  And finally, to find the defendant guilty of

     obstruction of an official proceeding you, the members of

     the jury, must find that he acted corruptly.             The jury

     instructions that you receive will tell you that "corruptly"

     means that Michael Oliveras had to have had an unlawful

     means, an unlawful purpose, or both.         He had to have

     consciousness of wrongdoing.       In other words, he has to know
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     what he's doing is wrong and unlawful.          And the evidence

     that you heard presented at this trial overwhelmingly meets

     the elements that he had this corrupt intent.

                 Why else, ladies and gentlemen of the jury, would

     Michael Oliveras forcefully swarm a unit of police officers

     and push into them?      That's what "unlawful" means.

                 Why else would he enter the Capitol Building three

     times trespassing?     Unlawful means.

                 Why else would he incite and try to rally up the

     crowd at the Senate wing door as they were trying to push

     through the officers?      Unlawful means.

                 Why else would he stand in front of a line of

     officers and refuse to move -- standing, holding this flag,

     when they were telling him to get out?          Unlawful means.

                 He also had unlawful purpose.           You can see this in

     his Parler posts.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:    For example, here.         He said:   Did we

     want to get our bare hands on the flesh of those who

     committed treason?     Yes.

                 The purpose in his mind was unlawful.           It was

     corrupt.

                 He said other things too.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:    For example, when another Parler user
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     said before January 6th that the people planning to go

     should block the tunnels out of the Capitol, out of -- and,

     slash, Congress, Michael Oliveras responded that he booked a

     hotel close to the Capitol to gain:          Real time understanding

     of access to the Capitol building.          Unlawful purpose, ladies

     and gentlemen.

                 He continued it.       He said that he was at the

     fight -- at the title fight for the most coveted prize on

     earth.   Unlawful purpose.

                 And you heard it again when you watched the video

     evidence.    You heard him yell things like:            "Everything

     around here changes from this day fucking forward!"               And he

     said that after the altercation on the northwest plaza,

     after he had already been pushed north.              He still had

     unlawful purpose.     He still had not given up.

                 You saw it too when he was at the Senate wing door

     when he was yelling, "Let's go.         We want those fucking

     traitors," in the face of police officers who were doing

     everything they could to protect the members of Congress.

                 And then you saw it again at the end of his day

     when he made it to the east side of the Capitol Building,

     when he again was calling out the traitors, when he was

     watching the destruction of media property, and when he was

     refusing to leave the Capitol grounds.

                 We know that Michael Oliveras had the
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     consciousness of wrongdoing.        He knew what he was doing was

     wrong based on everything he saw and joined on January 6th.

     He was in the initial breach of the Capitol.              And you saw

     that time lapse, it went very fast; and you saw the swarms

     and the masses of people who occupied the Capitol.               He was

     at the front.       He was there first, and he stayed until the

     end.

                 You saw that he was there when police officers

     turned and started running to the building because they were

     being overtaken.      This is the group of rioters, the

     defendant included, who was coming en masse towards the

     Capitol Building.      They very quickly progressed up to the

     bike racks, and you saw them tear the bike racks in front of

     the officers.

                 As soon as the bike racks were gone, they

     proceeded forward; and you saw them start to confront the

     officers themselves.       They started to engage physically with

     the officers, and what you saw was the defendant took a step

     up on the ledge and watched it all.

                 He had signs all along the way from there that

     what he -- what he was doing was wrong.              He knew what he was

     doing was wrong.      He had consciousness of wrongdoing.              You

     saw, for example, him climbing a bike rack to gain access to

     the stairwell.      Most of the time you visit a government

     building, you don't have to do things like this (indicating)
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     to enter -- lawfully, that is.

                  You saw him directing rioters coming up that same

     northwest staircase to gain access to the upper terrace near

     the doors.    You saw him start to enter the doors; and there

     were police officers in his direct line of vision, he knew

     he wasn't supposed to be there.

                  You heard from Officer Amendola that the sirens

     were blaring the entire time he was at the Senate wing door.

     The glass was on the floor.         You saw that the glass was

     shattered from the doors, the windows.           You saw rioters

     climbing in through the windows.

                  The defendant saw people swarming police officers

     on the upper west terrace and yelling "traitors" at them;

     assaulting them before his very eyes.           He knew he shouldn't

     have been there.      He knew he shouldn't have been part of the

     mob, but he kept going.       He kept going all the way until the

     evening when he was finally cleared out.

                  You also finally heard from TFO Laielli who

     explained to you that she interviewed Mr. Oliveras after he

     was arrested.       He told her that he knew what he did was

     wrong.   He had consciousness of wrongdoing.

                  All of the things that he saw, that he

     experienced, that he did, the mob that he joined, and the

     actions that he took all demonstrate that Michael Oliveras

     had corrupt intent to stop Congress.
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                 And like the civil disorder charge, ladies and

     gentlemen, there are several ways you can get to a guilty

     verdict for this count.       You can find that, as a principal

     actor, Michael Oliveras intended to and did stop the

     certification.       And the evidence supports that.

                 You can also find that he attempted to stop the

     certification of the Electoral College votes.             Same

     instructions as for civil disorder, he has to have intended

     to do it and he has to have taken a substantial step towards

     doing it.

                 Now, all of the evidence that I have just

     summarized constitutes "substantial steps."            Many of them,

     in fact.

                 And the third way -- or excuse me.

                 "Substantial steps," for example, include his

     intent here to grasp and remove traitors.

                 The third way that you can find Mr. Oliveras

     guilty of obstruction of an official proceeding is by aiding

     and abetting.       This, too, is not a separate charge.         It's

     the same charge, just a different way to find him guilty.

                 You will receive in your jury instructions the

     elements for "aiding and abetting."          And you will see that

     if others were committing this charge, this count,

     obstruction of an official proceeding -- and he was aware,

     performed an act in furtherance of it, that he also can be
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     found guilty of obstruction through aiding and abetting.

                 So members of the jury, whichever way you do it,

     Michael Oliveras is guilty of obstruction of an official

     proceeding.    The evidence overwhelmingly demonstrates that.

                 Next, he was charged with:       Assaulting, resisting

     opposing, impeding, intimidating, or interfering with

     certain officers.

                 For this charge there are five separate elements.

     The first is that he had to have:        Assaulted, resisted,

     opposed, impeded, intimidated, or interfered with officers.

     And the key for you here is the word "or."           He does not have

     to have done all six of those verbs, one is sufficient.

                 But as the evidence showed at trial, he is guilty

     on all of these verbs.      Michael Oliveras was part of a mob

     that stood off with police officers and eventually engaged

     in a brawl.    And he was at the front of the line of rioters

     for a minute and 45 seconds.

                 You saw several times on the CCTV footage him

     standing at the front.      You heard the officers' commands to

     "move back," to "move back."       And Michael Oliveras stood

     proudly with his flag in the air and refused to move.                He

     resisted, he impeded, he opposed.        He did not comply with

     the officers' commands.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:    You saw him on several different
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     body-worn camera footage.       You saw him at the very front of

     the officer line.      And as the seconds went on, you saw him

     take a step forward, towards the officer line.             You saw his

     head peep through the other rioters.          And by this point,

     this officer's body-worn camera -- the officers are almost

     passed him because the officers had collectively stepped

     forward, but he refused to step back.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:     Then you saw the body-worn camera

     footage that fell to the ground and helpfully showed what

     former Officer Wickham testified was a police officer here

     (indicating).       And then, a second later, you see Michael

     Oliveras stepping forward with his arms out pushing.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:     You see it from here, too

     (indicating).       You see his arm in the air.       You can actually

     see the white space below his arm.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:     You saw this footage, which is an

     officer falling to the ground because of the result of the

     violent brawl that happened because Michael Oliveras and

     others refused to move back.        And he was right there

     (indicating).       He was in the mix.    He was the tip of the

     spear of rioters.

                 After the rioters on the upper terrace refused to
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     move, you heard testimony that the lower terrace officers

     took a step forward; and that broke their line.            You heard

     testimony from Corporal Heaney and former Officer Wickham

     that when one part of the line moves forward and the other

     doesn't, that creates risk for officers.            It creates threats

     of injury because now the rioters can infiltrate the line.

     That's what happened, and an officer got pulled to the

     ground.

                 You heard testimony from Corporal Heaney that is

     the most dangerous situation for a police officer to be in,

     laying on the ground, helpless, in a mob.           And that's what

     happened.    The defendant afoot, next to him.

                 To find the defendant guilty of Count 3, you also

     need to find that he acted forcibly.         And your jury

     instructions will tell you that a person acts forcibly if he

     uses force, attempts to use force, or threatens to use force

     against the officer.      But physical force or contact,

     although sufficient, actual contact is not actually

     required.

                 Your jury instructions will tell you that:           If a

     person has the present ability to inflict bodily harm on

     another, and that -- and who threatens or attempts to

     inflict bodily harm on that person, that's forcible action.

                 Here, again, you heard the testimony and you saw

     the body-worn camera footage; you saw the open source
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     footage.    The officers were yelling "move back," he didn't.

     He forcibly held his ground.       He forcibly resisted, impeded,

     opposed.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:    You see he forcefully stands at the

     front of the line and he forcefully refuses to give up any

     ground.

                 Corporal Heaney testified that when an officer had

     fallen, all of the rioters around that officer presented an

     ability to inflict bodily harm on that officer and

     threatened to inflict bodily harm on that officer, and that

     is sufficient to find that he acted forcibly.

                 You also saw in his Parler, by his own account,

     after January 6th, that he said he felt like he had played

     two football games.      He was in the fight, he was in the

     altercation; and he acted forcibly.

                 You heard Officer Wickham testify that the crowd

     and Michael Oliveras resisted officers.             He testified

     specifically that they opposed officers, they impeded

     officers, and they interfered with officers.             And you see

     that in all of the footage.

                 Next, ladies and gentlemen, you have to find that

     he acted voluntarily and intentionally.             This is an easy

     element to meet.     He stood there, again, very brazenly and

     very insistent, essentially trying to provoke the officers,
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     refusing to move back, as we heard them continuously yell.

     And as the officers testified on the stand, they

     continuously said "move back."

                 The fourth element is that the person:           Assaulted,

     resisted, opposed, impeded, interfered with, or intimidated

     was engaged in the performance of their official duties.

     And we know, based on the certification -- excuse me --

     based on the stipulation that this element is met.             The

     parties have already agreed that the officers were engaged

     in their official duties.

                 That takes us to the final element on this count,

     which is that the defendant must make physical contact with

     the officer or the defendant has to have intended to commit

     another felony.     One or the other.

                 So taking the second part of that first.           We know,

     based on Count 1 and Count 2, those qualify as other

     felonies.    So as long as you find the defendant intended to

     commit one or the other of those counts, then we meet the

     fifth element on Count 3.

                 Finally, you can find the "or," which is that the

     defendant made physical contact.        You can see this in

     numerous of the government's exhibits that we played several

     times for you during the course of this trial.            You can also

     find this based on the testimony that you heard from former

     Officer Wickham who testified that the officers and the
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     rioters at the front of the line were in a physical

     altercation and he watched it from that lower platform.              In

     fact, he was on the west side and he turned and saw the

     altercation going on, he called it a commotion.            And he ran

     over to help because the situation was so desire where

     Michael Oliveras was.

                 So when you return to the jury room, the evidence

     has established that Michael Oliveras is guilty of

     assaulting, resisting, or impeding officers.

                 And that takes us to the next chunk of charges,

     ladies and gentlemen, which can be grouped into sort of

     trespassing-type charges and disorderly conduct-type

     charges.    The evidence you will see meets all of the

     elements of these last four charges.

                 First, entering and remaining in a restricted

     building or grounds.      The first element here is that he had

     to have entered or remained in the restricted building or

     grounds without lawful authority to do so.           We know there is

     a restricted perimeter here because you saw this map; you

     heard Captain Summers testify to it, and the parties have

     stipulated that there was a restricted perimeter.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:    You saw that he entered onto Capitol

     grounds, the photo on the left here, and he stepped up on

     the ledge near 1 p.m.; and he actually remained, photo on
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     the right, until the very evening.

                 He did so knowingly.      Again, this one takes just

     an ounce of common sense.      He was there, he was climbing the

     bike rack as a -- to use as a ladder.          He saw the police

     officers on the way to the Senate wing door.            He saw police

     officers fighting to get rioters out of the area, and then

     he entered the building.      And we know that he didn't enter

     once, he entered several times.        We know that he made it, in

     fact, all the way to the Crypt which, again, you learned was

     the center, the heart of the Capitol Building.            He saw in

     there that the police officers were using chemical irritant

     to try to disperse the rioters, but he didn't leave.             In

     fact, he came back two more times.

                 Michael Oliveras is guilty of entering and

     remaining in a restricted building or grounds.

                 That takes us to Count 5, which is disorderly or

     disruptive conduct in a restricted building or grounds.

                 The first element here is that the defendant

     engaged in disorderly or disruptive conduct.            I am not going

     to recount everything I just told you, but much of what we

     have already gone over is disorderly and disruptive and so

     you can consider all of that evidence.          I am going to

     highlight a few additional things.

                 When the defendant was roaming the halls of the

     United States Capitol Building he was saying things like
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     this:   "Where are the fucking traitors?"           "Drag 'em out by

     their fucking hair!"      "Where are the fucking traitors?"

                  He was being disorderly.      He was being disruptive

     as he hunted for members of Congress.

                  You heard him repeat similar remarks as he stood

     in the Senate wing door trying to fight his way through the

     police officers who were guarding it.          Again, looking,

     hunting for the traitors.      Being disorderly, being

     disruptive.

                  You saw it when he was starting chants outside the

     Senate wing door.     When you heard him yell:        "Ready?"

     "Ready?"     And then started chants.      Started to rile up the

     rioters as they were attempting to push through the Senate

     wing door.    And you saw it when he joined chants like:

     "Fight for Trump," "fight for Trump" as they tried to

     reenter the building.

                  And then finally, you saw it on the east side of

     the Capitol front where the evidence shows that he went --

     after he was escorted off the north side and he went to the

     area where rioters were destroying media equipment.             And

     there, too, he was yelling and commanding that the traitors

     get out.     He was watching as this pile of media equipment

     was destroyed.      He was justifying it.      He was saying:

     "That's what happens when the fake news shows up at a

     patriot rally."
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                  The second element of Count 5 is the defendant has

     to knowingly and with intent to impede or disrupt the

     orderly conduct of government business or official

     functions, and we know that he intended to stop Congress.             I

     already explained that evidence during Count 2, obstruction

     of an official proceeding.         It was his intent from

     December 2020 carried through, in words and in actions, all

     the way through January 6th.

                  And then finally, his conduct has to have, in

     fact, impeded or disrupted the orderly conduct of business.

     And, again, we know that to be true because you know the

     certification was, in fact, stopped for a long period of

     time as our members of Congress were in hiding after an

     emergency evacuation because of the mob.

                  Michael Oliveras is guilty of disorderly or

     disruptive conduct in a restricted building or grounds.

                  Next -- and we're getting very close to the end

     here -- Count 6 is disorderly conduct in a Capitol Building

     or grounds.

                  First, he has to have engaged in disorderly or

     disruptive conduct in any of the United States Capitol

     Buildings.

                  (Whereupon, an exhibit was published.)

                  MS. AKERS:   We saw him engage in disorderly

     conduct, for example, when he was escorted out of the Senate
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     wing door during his first entry and he turned and sort of

     fronted the police officer who ended up having to push him

     out.

                 We saw and we heard from Officer Amendola that he

     was disorderly and disruptive inside the Senate wing door

     when the rioters were attempting to get in.

     Officer Amendola testified how disorderly and disruptive and

     out of control they were.       The officers were doing

     everything they could to keep them out.              They were using

     historical artifacts to try to barricade the doors to keep

     Michael Oliveras and company out of the Capitol Building.

                 And then finally -- excuse me -- you saw Parler

     posts.

                 (Whereupon, an exhibit was published.)

                 MS. AKERS:     We have already looked at this one,

     that show his intent.       He said it.     He said his intent was

     for the purpose of extracting traitors.

                 And then finally, members of the jury, he has to

     have acted willfully and knowingly.          Again, this is just

     common sense:       His actions over the course of the five hours

     on Capitol grounds and in the building, his actions and his

     words starting in November, at the Stop the Steal rally, all

     the way through show what TFO Laielli described as a pattern

     of knowing and willful conduct.         His words were corroborated

     by his actions and his actions corroborated his words.
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                  Michael Oliveras is guilty of disorderly conduct

     in a Capitol Building.

                  And the very last count is parading,

     demonstrating, or picketing in a Capitol Building; just

     three elements.      The first is that the defendant was inside

     the Capitol Building, and you saw overwhelming evidence that

     he was.

                  (Whereupon, an exhibit was published.)

                  MS. AKERS:   This, for example, is him in the

     Crypt, in the center of the Capitol Building.

                  Second, he has to have paraded, demonstrated or

     picketed.    Your jury instructions will tell you that these

     words carry just their ordinary meaning.            For example, the

     defendant was in the building waving his flag.            He was in

     the building yelling at members of Congress.            He was in the

     building marching towards the Crypt saying:           "We want those

     traitors."    All of his conduct that I've already summarized

     for you today meets the second element on Count 7.

                  And then finally, he has to have acted willfully

     and knowingly.      And as we have discussed, there is no

     question that someone who enters a Capitol Building three

     times, who remains on Capitol grounds for five hours, has

     acted willful and knowingly.

                  Michael Oliveras is guilty of parading,

     demonstrating, or picketing in a Capitol Building.
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                 Ladies and gentlemen of the jury, you have heard a

     lot of evidence the last few days and I have just summarized

     a lot of evidence.

                 You heard compelling and undisputed testimony from

     several officers who have put their lives on the line to

     protect our Capitol Building on January 6th.            You heard them

     recount their stories and tell you how terrifying it was,

     and how they were doing everything they could to protect the

     members of Congress, to protect our Capitol Building.

                 But people like Michael Oliveras joined a mob and

     they collectively, for a period of time, overtook the

     Capitol Building.     You heard the testimony about the

     strength in numbers.      The officers stood no chance.         They

     were so outnumbered they couldn't keep people out; they

     couldn't keep them out of the building, they couldn't keep

     them off of the grounds.

                 And this defendant, he was there first and he was

     there last.    He was inciting rioters the whole day.           He was

     yelling for members of Congress; he was asking for their

     execution, he was asking to drag them out.           He was doing

     everything he could forcibly, with intent, to stop Congress;

     and he didn't care who got in his way.

                 So when you return to the jury room and you

     deliberate and you review the instructions, the

     stipulations, all of the evidence, the evidence will show
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     overwhelmingly that Michael Oliveras is guilty on all

     counts.

                 Thank you.

                 THE COURT:    Thank you, Ms. Akers.

                 Mr. Shipley.

                 And while Mr. Shipley is getting set up, I believe

     in at-your-chair calisthenics, so why don't we all stand up

     and move a little bit so we can be fresh for Mr. Shipley

     while he is changing microphones.

                 MR. SHIPLEY:    May it please the Court, counsel for

     the government, Mr. Oliveras, ladies and gentlemen of the

     jury.

                 There's a concept in American law, it's called

     "mere presence."     What that means is:       The fact that you are

     present while others around -- around you are engaging in

     illegal activity doesn't make you guilty of what they are

     doing.

                 One of the last thing Ms. Akers told you was that

     law enforcement officers got on the stand and testified to

     their experiences that day and how Mr. Oliveras was

     responsible in some measure for their experiences that day.

                 See, what I remember is -- I remember three

     particular sworn law enforcement officers getting on the

     stand.    And at one point or another, all three of them said

     either they didn't remember Mr. Oliveras or their
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     descriptions of Mr. Oliveras wasn't of anything he was doing

     that was illegal.

                 For example, retired Officer Wickham, if you

     recall, on cross-examination I asked him:           Does Michael --

     the name Michael Oliveras never passed your lips, did it?

     He said no.

                 I said:   In fact, you didn't describe any illegal

     conduct by Michael Oliveras.       And he said:      I guess not.      He

     just simply picked them out of photos in a variety of places

     where he had been.

                 And then United States Capitol Police Officer

     Healy -- Amendola, remember, his only involvement was

     limited to the passageway just inside the Senate wing doors;

     and that he is the officer that testified at one point he

     took somebody into custody and was responsible for that

     person.   And he spent his whole time just right there inside

     the Senate wing doors, and he was there when Mr. Oliveras

     appeared at the door the second time.

                 By the time Mr. Oliveras appears at the door the

     third time, Officer Amendola was gone.          He was taking the

     person -- the prisoner down into the basement to process

     him.   So that's his only involvement with Mr. Oliveras, when

     Mr. Oliveras was standing at the door while the police are

     blocking people from coming in at approximately 2:50.                Now,

     you have that video; you can look at it.
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                  I'm going to look at parts of this in a few

     minutes, but I am not going to spend a lot of time on the

     video.

                  The third officer who testified was the corporal

     from -- from Prince George's County.         And while he had

     identified himself and some of his fellow officers in that

     episode between 4:20 and 4:26 on the upper west terrace, he

     testified:    I don't remember Michael Oliveras.          Pointed out

     the person in the red and, you know, he -- remember, he

     said:    I remember the guy with the tan jacket.          He had -- I

     remember what he did, he stood out to me.           The guy with the

     flag in the red, I don't remember him.

                  So none of those three officers said anything

     about Michael Oliveras in a criminal respect.            You had three

     officers, and the efforts for what they went through and the

     efforts they made to fulfill their duties and obligations

     that they undertook and the positions they had.            But you had

     three officers come in and describe for you the crowd and

     the rioters and their experiences as a result over having

     been there several hours of the day, which was horrific.

                  Now, you have seen some of these videos -- let me

     mention this to you.      In the most -- for the most part, you

     saw snippets of longer videos.       And in most instances, you

     have the longer video.      So you might have only seen -- we

     might have only played for the witness a minute of a video,
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     but the video might be six minutes long; and I encourage you

     to watch them all.

                  The one thing I want you to be aware of -- and we

     see an episode, an example of this, with regard to the 4:26

     incident.    When you take a still shot of a video, the still

     shot can be unrepresentative of what you see when you watch

     the video because the video shows you a sequence of events

     in motion.    The video captures an image, it doesn't reflect

     what's actually happening; and I will show you an example of

     that in a minute.

                  So what did Michael Oliveras do?

                  I submit to you what Michael Oliveras did was he

     didn't leave.       The biggest sin that day was arriving at

     about 12:55 and not leaving until about 6 p.m.              He stuck

     around all afternoon.

                  You know, we played some Where's Waldo? with him

     for a while there yesterday, picking him out of a video here

     and a video here, and a still shot in this location, a still

     shot in that location, but all that really showed is that he

     was in those locations at those times.           It didn't show he

     was doing anything in those locations at those times.

                  He did not leave.      He was told to leave, he should

     have left.    He did not leave.

                  There are seven charges here.           And I am not

     standing here before you to deny the obvious, he was there.
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     He stuck around.     He went inside the Capitol.         Those are all

     indisputable facts.     You can't -- no magic makes them go

     away.

                 And in all likelihood, that makes your decision on

     five of the counts relatively easy:         Civil disorder, it was

     a riot.    I mean, you will see the definition of what that

     is, but there is no dispute that it was a riot.            We saw

     three other people, so there were more than people.

                 And the four misdemeanors, those last four

     charges:    Being on restricted grounds when you're not

     supposed to be there without authorization, and going inside

     the Capitol and doing things when it was closed.            It was

     certainly closed -- it was not open to the public, there's

     no question about that; and that was obvious to everybody

     who went through the threshold like Mr. Oliveras did, and he

     did go through the threshold.

                 Did any of you notice what I said to you in the

     opening a couple of days ago?

                 I said to you:    Keep in mind sometimes the

     evidence you don't see can be more important than the

     evidence you do see.

                 I went through that a little bit -- revisited that

     issue a little bit yesterday with Officer Laielli, which was

     she had access to all of the recording cameras inside the

     Capitol Building.     And those cameras are -- we reviewed
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     those cameras, what time he went in, he was inside 19

     minutes.    She could try to track his movements inside by

     looking at the video of all of the corridors that he might

     have walked through.      She said when she identified all of

     the relevant evidence to her investigation, and the evidence

     you didn't see was him doing anything when he was inside.

                  Yes, he recorded himself.       You have got three or

     four videos that came off of his phone where he's saying

     particularly ugly things.       But that then takes us back to

     another point I raised.

                  We have got this thing called the First Amendment.

     And I am not saying the First Amendment absolves you of all

     responsibility for your words.        But, you know, there are

     certain circumstances where your words are not met by your

     actions.    He's talking about wanting to drag Congresspeople

     out, traitors, by their hair.

                  Did he do anything that manifested that he really

     meant that?    Was that any more than false bravado?            Was that

     any more than over the top bombastic political rhetoric?

                  He was in there.      There were Congresspeople in

     there.     If he really wanted to drag people out by their

     hair, you would think he might have gone and, you know,

     tried a few office doors.       There is a big sign for them that

     says "Speaker of the House."        No evidence -- no evidence he

     did any of those things.
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                 He went into the Crypt, he took some videos.              The

     Crypt is in the middle of the building under the Great Dome

     and, then, 19 minutes later he headed back out.            And there

     is no evidence he went anywhere else or did anything else.

     His words, objectionable as most would find them, were

     empty.   They were words.

                 And the same issue kind of comes alive with regard

     to whether or not he represented or engaged in any act of

     violence against any law enforcement officer.

                 He was there for six hours.        There were many

     opportunities where:      If he was there to brawl with the

     police, he could have done so.       And the closest the

     government can come to saying he engaged in any activity

     like that is he put his hands on the back of another

     protester, who was separated by three people from a police

     officer.

                 He didn't join in the brawl.        He is shouting

     stupid things, but he did not join in the brawl.            And the

     same is true at 4:26 -- for lack of a better description I

     am kind of giving you where I'm going, and we're going to

     look at some of this stuff in a few minutes.

                 (Whereupon, an exhibit was published.)

                 MR. SHIPLEY:    But at 4:26, the same thing.             What

     is he doing right here?      He's standing there with his flag

     and he doesn't backup.      But that's all he did.
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                 If he wanted to brawl with the cops, they're right

     there in front of him.      He didn't.     If he wanted to brawl

     with the police that were inside the Capitol while he was

     walking around, he didn't.

                 Now, this is one of those circumstances that we

     don't send people to federal prison to because they say

     things that we think are idiotic and make us mad.             We don't.

                 We tolerate dissent.      Even if it's dissent that

     seems kind of ridiculous, over the top, and offensive, we

     tolerate it.

                 For lack of a better description, this is -- I

     sort of raised this issue in the opening.           And I am going --

     I'm going to implore you to not read his words or listen to

     his comments in the context of November 2023 when we know so

     much more as a country about the events of November,

     December, and January 2020 and 2021.

                 Now, this rhetoric, these comments, this kind of

     antagonism between the two sides of the political spectrum

     were caught up in that moment and, hopefully, as a country

     we've come far beyond that.

                 But in that moment, emotions were high on both

     sides; one side had lost and one side had won.            And the side

     that had lost didn't think it had been fair and they were

     animated and agitated and energized by that belief.

                 You have to read his words and consider his
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     conduct with your frame of reference then, not what we know

     now.

                 Did he plan?    What was his plan?

                 He planned to go to Washington, D.C.          He planned

     to go to Washington, D.C.

                 Unlike a lot of people -- and you can see them in

     the videos -- he is not wearing a helmet.           He doesn't have

     any bear spray.      He doesn't have any other kind of

     protective gear on.     I mean, if he went for the purpose of

     engaging in violence, he came awfully unprepared.

                 He went for the purpose of participating in a

     demonstration.      He was -- planned to go to the rally and

     listen to former President Trump speak, and he did that.

     And then he went to the Capitol.

                 Remember, I believe it was Captain Summers that

     told you there were planned and permitted protests for

     certain areas on the Capitol grounds for the afternoon of

     the 6th.

                 You have the planned and permitted speech at the

     Stop the Steal rally that morning at the Ellipse, and there

     were more planned and permitted protests that afternoon at

     the Capitol.

                 Now, the events kind of washed all of that away,

     but that was actually the truth.        When people went from the

     Ellipse to the Capitol, they were going from one planned
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     protest to another planned protest.         The second planned

     protest became a riot.

                  Ms. Akers said -- and, I mean, I am not sure I see

     it but, you know, she said Mr. Oliveras was leading --

     leading the protest.      He was, you know, among the first

     through the barriers.       But I think if you kind of track his

     movements, he sort of was always lingering behind a little

     bit.

                  And think about this in this context.         If he is

     really at the Capitol -- if he is really there at 2:10, 2:12

     for the purpose of stopping what is going on inside, would

     he just hang on outside until 2:22 while hundreds of people

     are streaming in in front of him.        I mean, if he's there for

     that purpose, don't you think you would see a little bit of

     urgency in his manner?

                  He is not in a hurry.     He is just -- he's just a

     participant in an event, an event that really became a

     spectacle.    I will show you what I mean by that.

                  (Whereupon, an exhibit was published.)

                  MR. SHIPLEY:    This is Government's Exhibit 309.

     This is outside looking at the Senate wing door.            It's

     closed-circuit camera TV from outside looking at the Senate

     wing door, and the time right now is 2:20:36.

                  So now, remember, from the inside camera we know

     that the crowd breached the door and started to come inside
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     at 2:13.     So we're seven minutes after that happened.

                  Remember, I played that time lapse -- it wasn't a

     time lapse.    I played the video of the interior doors, and I

     kind of skipped forward a little bit of time.             And you could

     see the crowd just kept coming in, kept coming in, and kept

     coming in.    I mean, hundreds of people came in in that nine

     minutes.

                  The nine minutes is between when they breached and

     the time Mr. Oliveras himself enters.           Nine minutes pass.

                  Now, this is after eight minutes have past.

                  And let's look and see if we see where

     Mr. Oliveras is and what his manner is.

                  (Whereupon, an exhibit was published.)

                  MR. SHIPLEY:    He is going to enter here

     (indicating), from the right -- from the right side of the

     screen.     As I said, remember the crowd has now been going

     inside for nine minutes.

                  Did I miss Mr. Oliveras?       Did I set it too far

     forward?

                  There he is (indicating).       So there is

     Mr. Oliveras.       He enters from the right, got his flag up in

     his hand.    And this is at 2:19:58.

                  Okay.    So we know that the window had been broke

     for six minutes and he does not enter for another three

     minutes.    Now, let's just watch him.
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                  Now, this is, according to the government,

     somebody who is hellbent on putting a stop to what is going

     on inside that building, and the building has now been open

     and people have been going in for six minutes.            Not "open."

     It had been breached; the doors and windows had been broken.

                  I will take that down.

                  My suggestion is he is not in a hurry to do

     anything.    He's walking around outside and he sees people

     going in, so he walks up to see what is happening.             Then,

     two minutes later you see him from the inside camera,

     walking in casually as can be, right behind people in front

     of him.     He pauses for a moment, turns to the right, and

     walks down the hallway towards the Crypt; but doesn't have

     anything particular in mind except seeing what's happening

     inside.

                  But if you listen to the Government's theory, his

     only purpose for being there is to put a stop to the

     congressional certification.       Now, you don't see him in

     that -- in that video.

                  When he leaves 19 minutes later -- and I apologize

     here, I have to use two different video players because one

     of the ones I have won't play everything.

                  Can we go up, if we're not up already.

                  (Whereupon, an exhibit was published.)

                  MR. SHIPLEY:   Now, this is as Mr. Oliveras is
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     leaving.    Let's back up a little bit.        You have seen this a

     couple of times during the testimony.

                 But -- so this is 2:41, he has been inside for

     19 minutes at this time.      And we know largely all he did was

     walk around the Crypt and take videos and yell things.                And

     he'll come down here in a minute.

                 You have got the officer there, towards the middle

     left of the screen, directing traffic, for lack of a better

     description.

                 Here comes Mr. Oliveras, flag in hand, down at his

     side.   He is heading for the exit, gets in line.            Remember

     these people have to crawl out of a window.            They're not

     walking through a door, they're crawling out a window.                And

     there's a big crowd outside, which Officer Amendola told you

     that.   And he turns to say something and then the officer

     pushes him, and he reacts badly.

                 Now, I mean, is that -- is that, you know,

     opposing or interfering or resisting?          He gets pushed, it's

     a natural human reaction, turns around.             Whatever he said,

     it didn't stop him; he turned right back around and he left.

     But not as fast as he could because the people in front of

     him were stacked up because they're crawling out a window

     with a crowd outside.

                 But what I suggest is that his demeanor, the

     manner in which he is acting, is just somebody looking
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     around.    Not somebody who is actually there to hunt down

     Congresspeople, grab them by the hair, and drag them out

     because they're traitors.      That's just empty words.         That's

     just political bombast.      Over the line, but it is not

     reflective of what he is actually doing inside the building.

     What he's actually doing inside the building is exactly what

     we see, which is a lot of nothing.

                 Now, I am not going to play this, but I will

     invite you to, when you have a few moments in the jury

     room -- this is Exhibit 301.

                 Now, 301 is actually the entry.         And if you

     remember when I had -- when I was doing the

     cross-examination yesterday, I made reference to the famous

     2-by-4.    If you have seen that exhibit, you seen that 2-by-4

     come through the window in the initial breach a few dozen

     times.

                 And so that window -- that 2-by-4 is at 2:13.

     Then you see one person jump through, a couple of other

     people jump through.      They kick open the door.        Right on the

     outside -- break out the windows on the right side.             And

     within about 30, 45 seconds all three entrances are breached

     and people just start to flow in.        I'm not sure -- and then

     we know that Mr. Oliveras comes in at 2:22.

                 Take those nine minutes and just -- just watch

     them.    Just watch them.    I mean, Michael Oliveras is -- he
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     comes in so long after that problem is a problem.              And he

     just, you know, casually wanders in like, oh, well,

     everybody else is.

                 Yeah.   That is illegal.      I am not suggesting it's

     not, and Mr. Oliveras is not contesting that it's not.

     That's one of those misdemeanors, entering the closed

     Capitol in circumstances where you are not authorized to do

     so.

                 But you can just sort of -- take those nine

     minutes.    It's not that much time to invest, and you'll

     just -- if you haven't seen this before, it's kind of

     instructive.    It's sort of eye opening.           If you haven't been

     exposed to this evidence, if you haven't been exposed to

     this discovery and watched some of this stuff, it's like --

     it's almost just, like, wow, this was just -- this was

     crazy.

                 Why didn't Michael Oliveras leave?

                 The best description I have heard from somebody is

     that it was just a spectacle.       A young man said:        Would I

     ever see that again?      When would this ever happen again in

     my lifetime?

                 Voters, citizens of the United States, regardless

     of what you might think about their politics, they took over

     the Capitol Building.

                 Now, I mean this town is no stranger -- remember
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     we talked about this with MPD Retired Sergeant Wickham.

     This town is no stranger to protests.          Heck, we had one two

     days ago with 300,000 people.       I guess that was a march, not

     really a protest, but...      We had a big protest last night.

                  So -- and federal buildings, no stranger to

     protests or efforts to take them over.          You had the Portland

     Federal Courthouse in December 2020 had to have a fence

     built around it to keep protesters from trying to burn it

     down.     The Capitol Building in the United States has had

     protestors get inside and disrupt individual proceedings.

     Nothing like January 6th.

                  The building had never been, in effect, lost

     before.    And it was lost for a couple of hours.          Lost in the

     sense that authorities did not have control over the

     entrances.    The first time ever.      So it's on the magnitude

     of a scale different than any that's happened before, but it

     was a spectacle.     And Mr. Oliveras hung around.         I mean,

     ultimately he got in his car and drove back to New Jersey.

     He was by himself.     And that's an important point.

                  I don't think -- the government hasn't suggested

     this, but there's lots of, you know, historical media about

     the organized groups that came to, you know, engage in

     violence, be damned.      And there was certainly people who

     came to the Capitol -- you have seen it, came to the Capitol

     with bad intentions.      Came to the Capitol looking for a
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     fight that day.     They found it.      They did, in fact, find it.

     It didn't matter whether it was going to be Antifa, Black

     Lives Matter, or law enforcement.         They were just there to

     fight.   Some bad people.

                 But then there are people just like Mr. Oliveras

     who was just one face in the crowd, just a man in a sea of

     people there by himself.      Arrived alone, left alone.

                 As I said just a few moments ago, I am not here to

     deny the obvious to you.      I don't think I could say with a

     straight face that he didn't violate some laws that day.              I

     mean, he went inside the building and he was on the grounds.

     He doesn't deny that.

                 Civil disorder, that's kind of another a tough

     one, you know, sort of the gravamen -- where the heart of

     that charge is a failure to comply with lawful orders of law

     enforcement during a riot.         You know, not doing what you are

     told to help them try to accomplish their job.             And probably

     there is no better example of that when he's standing there

     with his flag in the air when the police line is coming at

     them and they want the people to head for the exits, so to

     speak.   You know, they're on that upper west terrace at 4:25

     in the afternoon; the police try to clear that terrace.               The

     building is pretty much clear at that point, now it's time

     to get people off the grounds; and they're trying to urge

     those people still there to head for the exits.             Well,
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     Mr. Oliveras, he said that.        I'm not sure, you know, how you

     get any more civil disorder than that.

                 But as I had -- I believe it was retired

     Corporal Wickham, or retired U.S. Capitol Sergeant

     Wickham -- let me try it again.

                 Retired Metropolitan Police Department --

     Sergeant, I think that's it -- yeah.         I said:     It's civil

     disobedience, isn't it?

                 He said:   Yeah, it's civil disobedience.

                 We have a long history in this country with civil

     disobedience when we see things that strike us as being

     injust or unfair, so...      But you live with the consequences

     of your civil disobedience sometimes.

                 Michael Oliveras did fail to comply with the

     lawful orders of law enforcement and remained on the Capitol

     grounds, thereby interfering and impeding the ability of law

     enforcement to carry out their lawful duties.            That

     description, I submit to you, is a pretty apt description of

     everything he did.     It just encapsulates this idea that he

     never left.    He hung around, and he hung around, and he hung

     around.   And he watched from vantage point one, he watched

     from vantage point two, and he watched from vantage point

     three.    But the closest we get him to joining in to anything

     is two hands on the back of the protestor who is separated

     from the police by two other protestors.
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                 Not only do I suggest to you that his manner of

     lingering outside -- not rushing into the building is

     suggestive of what his true intention is with regard to

     obstructing Congress count, I think there is another factor

     there to consider whether or not it's been left out.             The

     government -- remember, this is something I pointed out in

     the opening statement.

                 The government has the burden of proof on each of

     these elements, and they did a good job of listing for you

     the individual elements of each of the charged offenses.

     The government has to provide the evidence beyond a

     reasonable doubt of each individual element.            Failure to do

     so on just one element leads to a not guilty verdict.

                 If you are not convinced that there is evidence on

     a particular single element of a particular offense, you

     stop; it's a not guilty verdict on that count at least.              The

     government has not -- it's failure of proof.            They have not

     carried their burden.

                 Yes, you saw all of the various documentary

     evidence that the certification procedure that day started

     at one o'clock by law, and it lasts until it's done.

     Mr. Oliveras entered the building at 2:22.           I submit there

     is no evidence before you that Mr. Oliveras knew the

     proceeding was still going on at 2:22, an hour and 22

     minutes after it started.
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                  Now, we can juxtapose -- the video wouldn't stop.

     We have the video wouldn't stop, and we have the testimony

     from Secret Service Hawa about handling Vice President

     Pence, and all of that information.         But what we don't have

     is that Mr. Oliveras knew any of that.

                  If Mr. Oliveras believes that the proceedings were

     done, then he's not obstructing anything when he goes

     inside.     If he had some knowledge that what he's doing is

     going to produce this result that violates the statute --

     and I would just leave it to you to discuss among yourselves

     whether you see anything in the evidence that he knew going

     inside was going to naturally lead to the obstruction of

     what Congress is doing.      If they're done, they're done.          If

     they're not done, they're not done.         But he has got to have

     some view of that.

                  Now, this is -- I did want to kind of track for

     you one piece of evidence, and then it will probably be the

     end here.

                  I'm really bothered by, sort of, the way the

     government has presented the 4:26 episode up on top.             And

     this is -- you know, this is 4:26.         We're talking about an

     hour and 50 minutes or an hour or 40 minutes after he had

     left the building and he never -- he had never gone back

     inside.    Remember, he's hanging around out there for a long

     time.     You see him in the doorway, he never goes back
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     inside.

                 But now we're at 4:56 [sic], and he left at 2:41.

     We're at 4:26, and that -- the episode begins when the

     police are trying to clear people off of the upper terrace,

     and he is standing there with a flag.          I mean, I -- I mean,

     this image is probably burned in your memory by now, even

     just in two days.

                 But I think it's really important for you to watch

     from a couple of different angles of what actually happened

     to Mr. Oliveras.     And there was some little point of

     controversy yesterday.      I made the comment that, you know,

     he sort of immediately moved himself 50 feet away from the

     encounter, just literally a few seconds.

                 And this kind of goes back to that point of:

     Well, was he there to engage in violence with the police?               I

     mean, like the first moment that there is a face-to-face,

     he -- he is gone.

                 Let's just watch this just for a minute.           Let me

     see if I can find what am I looking for.            It's at 503.

                 Maybe I am not looking for 503.          That was the west

     front from earlier in the day.

                 513, not 503.

                 (Whereupon, an exhibit was published.)

                 MR. SHIPLEY:    Now, this is a crowd shot video

     that's from behind.     And the reason I show this to you for
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     just a second -- if we go forward, we will see that -- we

     don't see Mr. Oliveras anywhere here in this video, so just

     watch.

                  The video is going to pan towards a column here on

     the right.    You know, this is -- this is like 4:20.            This is

     before Mr. Oliveras is even involved.           He hasn't even

     arrived yet raising his -- raising his flag.             This is not

     him.     That is not his flag on the far right.          You will see

     him in a minute.

                  There we go.

                  1:45, I am going to still it right there.

     Mr. Oliveras is going to appear on the right-hand side.

     Now, we see right now he is not there.

                  Now, it goes -- shoots over to the column here for

     about five seconds; then, when it comes back, you will see

     Mr. Oliveras.       And let's watch what he does.

                  (Whereupon, an exhibit was published.)

                  MR. SHIPLEY:    See.   There he is.       He is down in

     the front there, flag held high.

                  Now let's watch what he does over the next 15 or

     20 seconds.    Notice there is quite a bit of gap there

     between the officers and the protestors.             They're not lined

     up in each other's face.       There's four to five feet of space

     there between the two groups.

                  Now, he takes his flag down and he turns.           He is
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     yelling at people.       It looks like he is telling people to

     back up or move away.       He knows that the police are coming.

                  Again, he is yelling at people in the back.               He

     seems to be motioning for them to back up.             He goes back to

     the same position, flag high, just standing in place.

                  (Whereupon, an exhibit was published.)

                  MR. SHIPLEY:    Now, 514 captures some of the

     same -- this one is another crowd shot video, a little hard

     to follow.    Right in here (indicating).            This is where

     the first couple -- this is the officer -- the officer right

     in the middle of the screen with the yellow is the one that

     goes down, and then we'll see the gray jacket -- or tan

     jacket, gray hoodie fall on top of him.              Right there

     (indicating).

                  Now, notice -- and this is -- I brought this out

     yesterday.    Mr. Oliveras in the middle there, he's got

     his -- he's holding the flag with his right hand.               His left

     hand is gripping the gray jacket of the person in front of

     him.   He's not a police officer.        He is trying to keep from

     falling.     He is not doing anything except trying to keep

     from falling.       He's grabbing onto that guy and he's

     steadying himself.      He has got his flag in one hand.

                  He is in no way involved or threatening the

     officer who is going down, nor is he in contact with any of

     the other officers who are further back.
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                 There is at least -- there is at least -- one,

     two, three -- gray hoodie guy, all between him and the

     police at that point.

                 And now you see right there (indicating) -- now,

     okay.   So now, if you watch in the next second, the flag was

     just ripped off the flagpole.        One of the officers reached

     up, grabbed the flag, ripped it off the flag pole.

                 Now let's watch what Mr. Oliveras does next.              He

     is gone.

                 (Whereupon, an exhibit was published.)

                 MR. SHIPLEY:    Okay.    He is already moving away.

     And we're going to look at another video in just a second.

     We'll get a better angle of what that -- of what he did.

                 But he is no longer involved in this episode with

     tan jacket/gray hoodie.      He is -- he is getting the heck out

     of dodge.

                 Now, that same scene was captured on

     closed-circuit TV camera.      This is Government's

     Exhibit 1009, a little further away.          I am going to advance

     this to 2:10 on the marker.

                 (Whereupon, an exhibit was published.)

                 MR. SHIPLEY:    Okay.    But note this for a moment --

     and I think I mentioned this during the cross-examination

     yesterday -- it's relatively calm.          "Relatively" an

     important word there.
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                 The police are standing -- in the two locations

     they're standing.       The crowd is just standing quietly.           The

     police do what they were ordered to do, which was move

     forward and begin to push the people toward the exits.

                 At this point not a lot was happening.            Pay

     attention to the pole in the middle.          The pole is going to

     be important in a minute.

                 Okay.     Now, the government has put in the yellow

     circle there which helps us sort of track Mr. Oliveras.

     There he is waving again.       Remember from the other picture,

     he is waving to people behind him.          He's not waiving

     forward.    There's nothing about his movements that suggest

     he's trying to tell other people to come forward.              He's

     doing the opposite.       He puts his flag back in the air, just

     standing there.

                 Now, if you watch the bottom group of officers in

     the yellow vest, they move first.         And then the group on the

     top begins to move.       It's hard to tell if they're in line or

     not in line at this point, it's just the angle is impossible

     to judge.    Still just standing there, flag up in the air.

                 Now, we will see some jostling starts.            This is

     when the officer falls over, the guy falls on top of him.

     The officers began to engage, pushes the crowd back.

                 Right there, (indicating).         Flag was pulled off

     the flagpole.       Go back -- go back a little.
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                 We saw the flag pulled off the flagpole, and what

     happens next?

                 Now, here is when the pole becomes important.             We

     can't see Mr. Oliveras anymore because he's behind the pole.

     But let's see what happens when he comes from out behind the

     pole.

                 There he is (indicating).       He's -- he is getting

     away.   He is not -- he is not interested in any encounter

     with the police.     Remember, there are two levels here.            He

     goes to there, he gets down (indicating).

                 Now, that's the end of that video.          But there is

     one more with an even better view.

                 Let me try to find it again.        735 [sic].

                 THE COURT:    What is this exhibit number?

                 MR. SHIPLEY:    I am almost done, Your Honor.

                 MS. AKERS:     Exhibit number?

                 MR. SHIPLEY:    Oh, this is.     Number 419 is the

     original video, and then there is an enhanced version of

     419.    But this is 419, I think.

                 That's Officer Linwood.

                 Okay.   So this is a body-worn camera of one of the

     officers involved.     And this is where the push is happening

     and the one officer falls over.

                 And really, you can't see Mr. Oliveras here, but

     you will see him in just a minute.         I will point him out to
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     you when we get there.

                 The officer is moving forward.           Right there

     (indicating).

                 THE COURT:     Excuse me.

                 MR. SHIPLEY:     On the left side, and he will come

     into focus on the left edge --

                 THE COURT:     Mr. Shipley, this is Exhibit 419?

                 MR. SHIPLEY:    Yes.

                 THE COURT:     That hasn't been admitted.

                 MR. SHIPLEY:     There was an enhanced version.           It's

     same thing.

                 What's the enhanced version for 419?

                 MS. AKERS:    I think 1002.

                 MR. SHIPLEY:    1002?    It was the same video, I

     thought.

                 THE COURT:     1002 has been admitted.

                 MR. SHIPLEY:     Yes.   This is an enhanced version --

     1002 is an enhanced version of this, so this is the source

     video.

                 THE COURT:     Usually we just play during summations

     what is precisely been admitted into evidence, which is

     1002.

                 MR. SHIPLEY:    Okay.    I am not sure I have 1002

     loaded, but I will take that down.

                 THE COURT:     But I am sure maybe the government
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     would help you play that, if you wanted to play 1002.

                  MR. SHIPLEY:    Did we?   Didn't we put in two still

     shots?

                  MS. AKERS:     Yes, just the still shots.

                  MR. SHIPLEY:    Oh, okay.    We put in still images of

     419.     I have marked down 419.

                  THE COURT:   Yes.

                  MR. SHIPLEY:    All right.    1002 is this video if

     you want to watch it.       I don't have 1002 loaded up, so I

     can't show it to you.

                  But if you watch that what you see is:          After he

     jumped down off the wall, which we saw on the other video,

     he continued to move further away until he kind of gathered

     himself.

                  And the reason it looks like in a video the

     government showed you that he didn't get that far away is

     the police kept moving forward.        They kept closing ground on

     them.    That doesn't change the fact that he went 50 feet to

     get away from the police.        Again, maybe it seems like I'm

     making a big point of this.        But my point is at no point in

     his five hours here did he demonstrate any conduct that

     would suggest he was there to have any kind of physical

     involvement with the police.

                  Civil disorder, no question.       Didn't comply with

     their directives, always.        Sometimes he did, but not at
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     every moment.

                  But for 111(a), it just doesn't seem like that was

     there.    It wasn't what he was there to do.         Just like he

     wasn't really there to drag people out by their hair.

     Didn't do anything that would suggest he was there to drag

     people out by their hair, notwithstanding his words.

                  Now, I will go back to -- I promise I am right at

     the end.

                  The first part of my cross-examination of

     Officer Laielli, I went through with her the -- you know,

     she was assigned to the joint terrorism task force of the

     FBI.     I went through the fact that there are at least one

     and, in some instances, more than one such task force in

     every one of the FBI's 54 field offices.            And these task

     forces have multiple officers representing multiple

     agencies.    I mean, the FBI invests a lot of resources.             The

     Department of Justice invests a lot of resources in that

     effort.

                  But you know when that's your job, when that's the

     metric against which your performance is measured, you tend

     to find it, sometimes when it's not even really there.

                  Its natural tendency, you want to succeed at the

     task you have been given.      You are on a terrorism task

     force, you are looking for terrorism.          When you are looking

     for something specific, it's much easier to find it, and
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     that tends to go in favor of your endeavor.

                  Michael Oliveras did a lot of things to bring

     attention to himself; his comments on Parler that the

     government found afterwards, what was captured on video of

     what he was saying, the fact that he hung around for five

     plus hours.    He brought a lot of reasons to be looked at.

     But what is not there when you look closely is any real

     evidence that he had any real purpose beyond simply

     attending what became a spectacle.

                  So like I said, not going to deny the obvious.          It

     seems to me based on the instructions, the evidence, some of

     your questions, some of your decisions -- not going to

     challenge you too much, but I think there are a couple of

     hard ones.    I think it's hard to reconcile the evidence of

     action with the words.

                  The evidence of action strongly suggests that in

     almost every respect the words were empty.           On that basis, I

     think it's necessary and I think it's required to honorably

     and faithfully execute your oaths to find that the

     government's evidence does not rise to the necessary

     standard to find him guilty on the counts of obstructing

     Congress or assaulting, impeding, or interfering with

     officers.

                  Thank you.

                  THE COURT:   Okay.    Ladies and gentlemen, I think
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     we're going to take a short ten-minute break now.

                  When we come back, we'll hear the government's

     rebuttal and then I will give you your instructions on the

     law.   Your lunch is going to be a bit late but lunch is

     going to be delivered to you in the jury room.             But I would

     like to get everything concluded so that, when you go back

     to have your lunch, you can begin your deliberations.

                  So if you could just bear with me.          If you are

     hungry, maybe have a snack on your ten-minute break so that,

     when you come back, we can finish the summations and have

     instructions -- the final instructions.             And when you get

     back to the jury room it will be time for you to begin your

     deliberations.

                  So a ten-minute break now.

                  (Whereupon, the jury was excused, and a recess was

     taken.)

                  THE COURT:    Is the government ready for rebuttal

     summation?

                  MS. SHEETS:    Yes, Your Honor.

                  THE COURT:    Ms. Sheets.

                  MS. SHEETS:    Members of the jury, Mr. Shipley just

     told you that the defendant didn't actually rip members out

     by their hair out of the Capitol Building.            Good.    He is not

     charged with that in this case.

                  He is on trial for obstructing or attempting to
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     obstruct an official proceeding, and the evidence of intent

     and on each of those elements is overwhelming as Ms. Akers

     has already gone through.

                 He talked to you about tolerating dissent and the

     First Amendment.     And you will get an instruction from the

     judge in your jury instructions on the First Amendment, that

     we have a right to lawfully exercise those First Amendment

     rights.   And thank goodness that's the case.

                 But what we do not tolerate are the actions that

     Mr. Oliveras took in furtherance of those words by coming to

     the Capitol on January 6th, by storming past officers, past

     barriers, by engaging in physical violence that we saw over

     and over throughout this trial.

                 Mr. Shipley said there is no indication that he

     was there for violence, that he just came because he wanted

     to see the spectacle.      And that's why he stuck around, that

     he was wandering around through the Capitol Building.

                 Members of the jury, I encourage you and the law

     requires you to focus not on the statements of me or

     Mr. Shipley, but on the evidence.

                 When you look back and play the video evidence --

     in particular, when you play Exhibit 1009 -- now, again, the

     judge explained this to you, the evidence is in categories.

     And that 1000 series is very important because that's the

     series that has the markers, the circles on it, so it will
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     help you in your deliberations.

                 And Mr. Shipley asked you to watch the full

     videos, and I agree.      He showed you a couple of clips here,

     but he conveniently skipped some of what was happening

     there.   And when you watch that 1009, you can't see --

     that's the CCTV with the pole, you can't see exactly what is

     going on, but what you can see is that flag.

                 (Whereupon, an exhibit was published.)

                 MS. SHEETS:    We just saw it -- there (indicating),

     against officers on the front line.         Now, arguably, everyone

     on that terrace was resisting, opposing officers.             As you

     heard, they were shouting "Move back," moving their arms,

     dressed in riot gear.      There were lots of clues that their

     orders were to leave.

                 And you heard Mr. Shipley say that there had been

     another violent brawl right before the one Mr. Oliveras

     engaged in, and that's true.       And Mr. Oliveras was lingering

     right there.

                 What's another verb we can think of?          Observing.

     He saw a violent brawl, and then he came right to the front

     of that police line; that's when his flag is in the air,

     that's when he is facing up against officers.

                 Take all of this into account when you review 1009.

                 We don't have to wonder about the defendant's

     intentions that day.      His pushing of officers on the west
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     front, his climbing up the scaffolding, going into the

     building, shouting in the halls of Congress to:             "Pull them

     out by their fucking hair," coming back outside, seeing more

     violence from officers -- excuse me, I skipped a step.

                 He didn't just come back outside and go directly

     to that fight.      He came back outside and then he went back

     to the Capitol.      And then he was back outside and he went

     right back to that same door again, the same door where he

     had seen glass shattered, heard that ringing alarm, and then

     directed -- there is video evidence of him being directed

     the first time he is in the Capitol by officers, one of

     which you heard from, Officer Amendola:             Hey, get out.     He

     crawls through that broken window.         That's how desperate

     police were.

                 He saw them barricading the Capitol and he came

     back, and then he didn't leave.        He saw the violence on the

     northwest terrace.     He saw officers engaging in a fight that

     Mr. Shipley just showed you.       Mr. Oliveras is standing still

     over by the Senate wing door, and then he walks up to the

     front of the police line and stands there.

                 Now like I said, arguably, everyone there was

     resisting, opposing what officers were directing them, to

     move back in that big line formation.

                 Mr. Oliveras was using force, the force of his

     body, by standing there for a minute and 45 seconds.                Watch
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     the video, watch that flag.        He is struggling against

     officers.    He is using force to resist them and oppose them.

                  And on his intentions for violence when he came to

     the Capitol, not just to participate in a rally, not just to

     hear what people would say at the rally and observe

     anything.    You heard in his Parler posts -- look up

     Exhibit 618, it's that very long PDF.          I encourage you to

     look through it; we looked through some of it.            He told us

     why he was coming.     He was looking for that title fight, and

     he stayed unlawfully on Capitol grounds until he found it.

                  Now, the judge is going to instruct you in a few

     minutes to leave your biases, your personal preferences,

     your personal opinions outside of this courtroom, outside of

     that door.    And it's very, very important that you do that.

                  But listen as she gives you the instructions

     because there is one thing that you won't hear her ask you

     to leave outside that door, and that's your common sense,

     members of the jury.

                  We ask that you return the only verdict that makes

     sense in this case, the only verdict supported by the

     evidence that you've heard here:        Guilty on all counts.

                  THE COURT:   Thank you, Ms. Sheets.

                  All right.   Ladies and gentlemen, at this time it

     is my duty and responsibility as the trial judge to give you

     instructions as to the law that applies to this case and to
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     the evidence that has been presented.           It is your sworn duty

     to base your verdict upon the law given in these

     instructions and upon the evidence that has been admitted in

     this trial.

                 I am going to provide you -- each of you with a

     copy of these instructions so you do not need to take notes

     while I am talking.      I see many of you picking up pens to

     conscientiously take notes.         Just listen.

                 During your deliberations you may, if you want,

     refer to these instructions.         While you may refer to any

     particular portion of the instructions, you are to consider

     the instructions as a whole, and you may not follow some and

     ignore others.

                 If you have any questions about the instructions,

     you should feel free to send me a note.              I will give you

     instructions on how to do that at the end of these

     instructions.       The copy of these instructions that will be

     given to you will be returned to me when you render your

     verdict.

                 As I stated in my preliminary instructions to you

     at the beginning of the trial, my function is to conduct

     this trial in an orderly, fair, and efficient manner, to

     rule on questions of law, and instruct you on the law that

     applies in this case.       It is your duty to accept the law as

     I instruct you.
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                 You should consider all of the instructions as a

     whole, you may not ignore or refuse to follow any of them.

                 Your function as the jury is to determine what the

     facts are in this case; you are the sole judges of the

     facts.    While it is my responsibility to decide what is

     admitted as evidence during the trial, you alone decide what

     weight, if any, to give to that evidence.           You alone decide

     the credibility or believability of the witnesses.

                 Be aware that, as human beings, we all have

     personal likes and dislikes, opinions, prejudices, and

     biases.   Generally, we are aware of these things; but you

     also should consider the possibility that you have implicit

     biases, that is, biases of which you may not be consciously

     aware.    Personal prejudices, preferences, or biases have no

     place in the courtroom where our goal is to arrive at a just

     and impartial verdict.

                 All people deserve fair treatment in our system of

     justice regardless of any personal characteristics such as:

     Race, national or ethnic origin, religion, age, disability,

     sex, gender identity or expression, sexual orientation,

     education or income levels, or any other personal

     characteristic.     You should determine the facts solely from

     a fair consideration of the evidence.

                 You may not take anything I may have said or done

     as indicating how I think you should decide this case.               If
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     you believe that I have expressed or indicated any such

     opinion, you should ignore it.        The verdict in this case is

     your sole and exclusive responsibility.

                 If any reference by me or any of the attorneys to

     the evidence is different from your own memory of the

     evidence, it is your memory that should control during your

     deliberations.

                 During your deliberations you may consider only

     the evidence properly admitted in this trial.            The evidence

     in this case consists of the sworn testimony of the

     witnesses, the exhibits that were admitted into evidence,

     and the facts and testimony stipulated to by the parties.

                 During the trial you were told the parties had

     stipulated, that is, had agreed to certain facts; and you

     should consider any stipulation of fact to be undisputed

     evidence.

                 When you consider the evidence, you are permitted

     to draw from the facts that you have found have been proven

     such reasonable inferences as you feel are justified in

     light of your experience.      You should give any evidence such

     weight as in your judgment it is fairly entitled to receive.

                 The statements and arguments of the lawyers are

     not evidence, they are only intended to assist you in

     understanding the evidence.        Similarly, the questions of the

     lawyers are not evidence.
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                  Every defendant in a criminal case is presumed to

     be innocent.    This presumption of innocence remains with the

     defendant throughout the trial, unless and until the

     government has proven he is guilty beyond a reasonable

     doubt.    This burden never shifts throughout the trial.

                  The law does not require the defendant, Michael

     Oliveras, to prove his innocence or to produce any evidence

     at all.

                  If you find that the government has proven beyond

     a reasonable doubt every element of a particular offense

     with which Mr. Oliveras is charged, it is your duty to find

     him guilty of that offense.        On the other hand, if you find

     that the government has failed to prove any element of a

     particular offense beyond a reasonable doubt, it is your

     duty to find Mr. Oliveras not guilty of that offense.

                  As stated during the preliminary instructions I

     gave you at the beginning of the trial, the government has

     the burden of proving Mr. Oliveras guilty beyond a

     reasonable doubt as to each element of each charge against

     him.     In civil cases, by contrast, it is only necessary to

     prove that a fact is more likely true than not or, in some

     cases, that its truth is highly probable.

                  In criminal cases such as this one, the

     government's proof must be more powerful than that; it must

     be beyond a reasonable doubt.       Reasonable doubt, as the name
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     implies, is a doubt based on reason.         A doubt for which you

     have a reason based upon the evidence or lack of evidence in

     the case.

                 If after careful, honest, and impartial

     consideration of all of the evidence you cannot say you are

     firmly convinced of Mr. Oliveras's guilt, then you have a

     reasonable doubt.     Reasonable doubt is the kind of doubt

     that would cause a reasonable person, after careful and

     thoughtful reflection, to hesitate to act in the graver or

     more important matters of life.        However, it is not an

     imaginary doubt nor a doubt based on speculation or

     guesswork; it is a doubt based on reason.

                 The government is not required to prove guilt

     beyond all doubt or to a mathematical or scientific

     certainty; its burden is to prove guilt beyond a reasonable

     doubt.

                 Now, there are two types of evidence from which

     you may determine what the facts are in this case; direct

     evidence and circumstantial evidence.          When a witness, such

     as an eyewitness, asserts actual knowledge of a fact, that

     witness's testimony is direct evidence.             On the other hand,

     evidence of facts and circumstances from which reasonable

     inferences may be drawn is circumstantial evidence.

                 Let me give you an example.

                 Assume a person looked out a window and saw that
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     snow was falling.     If he later testified in court about what

     he had seen, his testimony would be direct evidence that

     snow was falling at the time he saw it happen.

                 Assume, however, that he looked out a window, saw

     no snow on the ground and then went to sleep and saw snow on

     the ground after he woke up.       His testimony about what he

     had seen would be circumstantial evidence that it had snowed

     while he was sleep.

                 The law says that both direct and circumstantial

     evidence are acceptable as a means of proving a fact.                The

     law does not favor one form of evidence over another.                It is

     for you to decide how much weight to give to any particular

     evidence, whether it is direct or circumstantial.             You are

     permitted to give equal weight to both.

                 Circumstantial evidence does not require a greater

     degree of certainty than direct evidence.           In reaching a

     verdict in this case you should consider all of the evidence

     presented, both direct and circumstantial.

                 One of the questions you were asked when we were

     selecting this jury was whether the nature of the charges

     itself would affect your ability to reach a fair and

     impartial verdict.     We asked you that question because we

     must not allow the nature of the charges to affect your

     verdict.    You must consider only the evidence that has been

     presented in this case in reaching a fair and impartial
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     verdict.

                 The weight of the evidence is not necessarily

     determined by the number of witnesses testifying for each

     side, rather, you should consider all the facts and

     circumstances and evidence to determine which of the

     witnesses you believe.      You might find that the testimony of

     a smaller number of witnesses on one side is more believable

     than the testimony of a greater number of witnesses on the

     other side, or you might find the opposite.

                 The lawyers in this case sometimes objected when

     the other side asked a question, made an argument or offered

     evidence that the objecting lawyer believed was not proper.

     You must not hold such objections against a lawyer who made

     them or the party they represent.        It is the lawyer's

     responsibility to object to evidence that they believe is

     not admissible.

                 If, during the trial, I sustained an objection to

     a lawyer's question, you should ignore the question and you

     must not speculate as to what the answer would have been.

                 During the course of this trial a number of

     exhibits were admitted into evidence.          Sometimes only

     portions of an exhibit were admitted, such as portions of a

     larger video or a document with some words or pictures

     blacked out or otherwise removed.        There are a variety of

     reasons why only a portion of an exhibit is admitted,
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     including that the other portions are inadmissible or

     implicate an individual's privacy.

                 As you examine the exhibits and you see or hear

     portions where there appear to be omissions, you should

     consider only the portions that were admitted.            You should

     not guess as to what has been taken out or why, and you

     should not hold it against either party.            You are to decide

     the facts only from the evidence that is before you.

                 Someone's intent or knowledge ordinarily cannot be

     proved directly because there is no way of knowing what a

     person is actually thinking, but you may infer someone's

     intent or knowledge from the surrounding circumstances.              You

     may consider any statements made or acts done by

     Mr. Oliveras, and all other facts and circumstances received

     in evidence which may indicate his intent or knowledge.

                 You may infer but are not required to infer that a

     person intends the natural and probable consequences of acts

     he intentionally did or did not do.         It is entirely up to

     you, however, to decide what facts to find from the evidence

     received during this trial.

                 You should consider all of the circumstances and

     evidence that you think are relevant in determining whether

     the government has proved beyond a reasonable doubt that

     Mr. Oliveras acted with the necessary state of mind.

                 I am going to talk about evaluating testimony.
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                 In determining whether the government has proved

     the charges against the defendant beyond a reasonable doubt,

     you must consider the testimony of all of the witnesses who

     have testified.     You are the sole judges of the credibility

     of the witnesses.     You alone determine whether to believe

     any witness and the extent to which a witness should be

     believed.    Judging a witness's credibility means evaluating

     whether the witness has testified truthfully and also

     whether the witness accurately observed, recalled, and

     described the matters about which the witness testified.

                 As I instructed you at the beginning of the trial,

     you should evaluate the credibility of witnesses free from

     prejudices and biases.      You may consider anything else that

     in your judgment affects the credibility of any witness.

     For example, you may consider the demeanor and the behavior

     of the witness on the witness stand, the witness's manner of

     testifying, whether the witness impresses you as having an

     accurate memory, whether the witness has any reason for not

     telling the truth, whether the witness had a meaningful

     opportunity to observe the matters about which he or she has

     testified, whether the witness has any interest in the

     outcome of this case, stands to gain anything by testifying,

     or has friendship or hostility toward other people concerned

     with this case.

                 In evaluating the accuracy of a witness's memory,
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     you may consider the circumstances surrounding the event,

     including the time that elapsed between the event and any

     later recollections of the event and the circumstances under

     which the witness was asked to recall details of the event.

                 You may consider whether there are any

     consistencies or inconsistencies in a witness's testimony or

     between a witness's testimony and any previous statements

     made by the witness.      You may also consider any

     consistencies or inconsistencies between the witness's

     testimony and any other evidence that you credit.             You may

     consider whether any inconsistencies are the result of

     lapses in memory, mistake, misunderstanding, intentional

     falsehood, or differences in perception.            You may consider

     the reasonableness or unreasonableness, the probability or

     improbability of the testimony of a witness in determining

     whether to accept it as true and accurate.           You may consider

     whether the witness has been contradicted or supported by

     other evidence that you credit.

                 If you believe that any witness has shown him or

     herself to be biased or prejudiced for or against either

     side in this trial or motivated by self interest, you may

     consider and determine whether such bias or prejudice has

     colored the testimony of the witness so as to affect the

     desire and capability of that witness to tell the truth.

     You should give the testimony of each witness such weight as
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     in your judgment it is fairly entitled to receive.

                 A police officer's testimony should be evaluated

     by you just as any other evidence in the case.            In

     evaluating the officer's credibility, you should use the

     same guidelines that you apply to the testimony of any other

     witness.    In no event should you give either greater or

     lesser weight to the testimony of any witness merely because

     he or she is a police officer or law enforcement officer.

                 Every defendant in a criminal case has an absolute

     right not to testify.      Mr. Oliveras has chosen to exercise

     this right.    You must not hold this decision against him,

     and it would be improper for you to speculate as to the

     reason or reasons for his decision.         You must not assume the

     defendant is guilty because he chose not to testify.

                 Now, I'm going to talk about the charges.

                 At the beginning of the trial I gave you

     preliminary instructions that generally described the

     different types of charges that the government has brought

     against the defendant, Mr. Oliveras.         He is charged with

     committing offenses charged in seven separate counts.                I

     will read those charges to you now, and then explain the

     definition of terms used in the charges and the elements of

     each charge.    When no formal definition is provided for a

     term, please rely on your every day understanding of the word.

                 Again, keep in mind that you will have a copy of
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     these instructions when you deliberate, so you don't need to

     remember all of these details or write any of it down.

                  Now, before discussing the charges I will define

     the term "knowingly."      I am going to define that term for

     you because this term will appear in many of the charges.

                  A person acts knowingly if he realizes what he is

     doing and is aware of the nature of his conduct and does not

     act through ignorance, mistake, or accident.            In deciding

     whether the defendant acted knowingly you may consider all

     of the evidence, including what the defendant did or said.

                  Count 1, civil disorder.

                  Count 1 charges that:     On or about January 6,

     2021, at approximately 4:26 p.m., within the District of

     Columbia, Michael Oliveras committed and attempted to commit

     an act to obstruct, impede, and interfere with a law

     enforcement officer lawfully engaged in the lawful

     performance of his or her official duties incident to and

     during the commission of a civil disorder which in any way

     and degree obstructed, delayed, and adversely affected

     commerce and the movement of any article and commodity in

     commerce, and the conduct and performance of any federally

     protected function in violation of 18 U.S.C. Section

     231(a)(3).

                  Count 1 charges the defendant with a substantive

     offense of committing civil disorder and also with
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     attempting to commit civil disorder.         I will first explain

     the elements of the substantive offense, along with its

     associated definitions, then I will explain how to determine

     whether the defendant attempted the commission of this

     offense.

                 Elements for Count 1:      To find the defendant

     guilty of the offense charged in Count 1, you must find that

     the government proved each of the following elements beyond

     a reasonable doubt:

                 First, the defendant knowingly committed an acted

     with the intended purpose of obstructing, impeding, or

     interfering with one or more law enforcement officers.

                 Second, at the time of the defendant's act, the

     law enforcement officers were engaged in the lawful

     performance of their official duties incident to and during

     a civil disorder.

                 Third, the civil disorder in any way or degree

     obstructed, delayed, or adversely affected commerce or the

     movement of any article or commodity in commerce or the

     conduct or performance of any federally protected function.

                 If you find defendant Michael Oliveras guilty of

     this offense, you must also answer two questions that follow

     Count 1 on the verdict form asking whether the jury

     unanimously agrees that the government has shown:

                 One, that the civil disorder obstructed, delayed,
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     or adversely affected commerce or the movement of an article

     of commodity in commerce; or, two, that the civil disorder

     obstructed, delayed, or adversely affected the conduct or

     performance of a federally protected function.

                 While the charge in Count 1 is written with "and,"

     the government is not required to show that the civil

     disorder affected both one and two of what I have just

     described as one and two.      In other words, you may find that

     the civil disorder affected both commerce and the conduct of

     a federally protected function or affected neither.             In that

     case, you will answer both of the questions that follow

     Count 1 with the same answer.

                 Alternatively, you may find that the government

     has only shown that a civil disorder affected either

     commercial or a federally protected function and, in that

     case, you will answer yes to only one of the questions that

     follow Count 1.

                 Definitions.    "Knowingly" has the same definition

     that I gave to you above.

                 The term "civil disorder" means any public

     disturbance involving acts of violence by groups of three or

     more persons which, A, causes immediate danger of injury to

     another individual; B, causes an immediate danger of damage

     to another individual's property; C, results in injury to

     another individual; or D, results in damage to another
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     individual's property.

                 The term "commerce" means commerce or travel

     between one's state, including the District of Columbia, and

     any other state including the District of Columbia.             It also

     means commerce wholly within the District of Columbia.

                 The term "federally protected function" means any

     function, operation, or action carried out under the laws of

     the United States by any department, agency, or

     instrumentality of the United States or by an officer or

     employee thereof.

                 The term "department" includes one of the

     departments of the executive branch such as the Department

     of Homeland Security, which includes the United States

     Secret Service.

                 The term "agency" includes any department,

     independent establishment, commission, administration,

     authority, board, or bureau of the United States.

                 The term "instrumentality" includes any other

     formal entity through which the government operates, such as

     Congress or the United States Capitol Police.

                 The term "law enforcement officer" means any

     officer or employee of the United States or the District of

     Columbia while engaged in the enforcement or prosecution of

     any criminal laws of the United States or the District of

     Columbia.
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                 For the U.S. Capitol Police and Metropolitan

     Police Department on January 6, 2021, the term "official

     duties" means policing U.S. Capitol Building and grounds and

     enforcing federal law and D.C. law in those areas.

                 "Attempt."    In Count 1, Michael Oliveras is

     alternatively charged with attempt to commit the crime of

     civil disorder.     Attempting to commit this offense is not a

     separate offense, but an alternative way in which the

     government alleges that defendant Michael Oliveras committed

     the same offense in Count 1.

                 In order to find the defendant guilty of attempt

     to commit civil disorder, you must find that the government

     proved beyond a reasonable doubt each of the following two

     elements:    One, the defendant intended to commit the crime

     of civil disorder as I have defined that offense above.

     And, two, the defendant took a substantial step toward

     committing civil disorder.

                 With respect to the first element of "attempt,"

     you may not find the defendant guilty of attempt to commit

     civil disorder merely because he thought about it.             You must

     find that the evidence proved beyond a reasonable doubt that

     the defendant's mental state passed beyond the stage of

     thinking beyond the crime to actually intending to commit it.

                 With respect to the "substantial step" element,

     you may not find that the defendant -- you may not find the
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     defendant guilty of attempt to commit civil disorder merely

     because he made some plans to or some preparation for

     committing the crime.      Instead, you must find that the

     defendant took some firm, clear, undeniable action to

     accomplish his intent to commit civil disorder.            However,

     the substantial step element does not require the government

     to prove that the defendant did everything except the last

     step necessary to complete the crime.

                 Count 2, obstruction of an official proceeding.

                 Count 2 charges that:      On or about January 6,

     2021, within the District of Columbia and elsewhere, Michael

     Oliveras attempted to and did corruptly obstruct, influence,

     and impede an official proceeding, that is, a proceeding

     before Congress, specifically Congress's certification of

     the Electoral College vote, as set out in Twelfth Amendment

     of the Constitution of the United States and 3 U.S.C.

     Sections 15 through 18, in violation of 18 U.S.C. Sections

     1512(c)(2) and 2.

                 Count 2 charges the defendant with the substantive

     offense of corruptly obstructing an official proceeding and

     also with attempting to obstruct or impede an official

     proceeding, and aiding and abetting others to commit that

     offense.

                 I will first explain the elements of the

     substantive offense, along with its associated definitions,
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     then I will explain how to determine whether the defendant

     attempted the offense and whether the defendant aided and

     abetted the offense.

                 Elements for Count 2.      To find the defendant

     guilty of the offense charged in Count 2, you must find that

     the government proved each of the following elements beyond

     a reasonable doubt:     First, the defendant attempted to or

     did obstruct or impede any official proceeding; second, the

     defendant acted with the intent to obstruct or impede the

     official proceeding; third, the defendant acted knowingly,

     with awareness that the natural and probable effect of his

     conduct would be to obstruct or impede the official

     proceeding; and fourth, the defendant acted corruptly.

                 Definitions:    "Knowingly" has the same definition

     that I gave you above.

                 To "obstruct" or "impede" means to block,

     interfere with, or slow the progress of an official

     proceeding.

                 As the term "official proceeding" is used in this

     count, Congress's Joint Session to certify the Electoral

     College vote on January 6, 2021, was an official proceeding.

     The official proceeding need not be pending or about to be

     instituted at the time of the offense.          If the official

     proceeding was not pending or about to be instituted, the

     government must prove beyond a reasonable doubt that the
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     official proceeding was reasonably foreseeable to the

     defendant.

                  To act "corruptly," the defendant must use

     independently, unlawful means to act with -- or act with an

     unlawful purpose, or both.         The defendant must also act with

     consciousness of wrongdoing.

                  "Consciousness of wrongdoing" means with an

     understanding or awareness that what the person is doing is

     wrong or unlawful.

                  Not all attempts to obstruct or impede an official

     proceeding involve acting corruptly.          For example, a witness

     in a court proceeding may refuse to testify by invoking his

     or her constitutional privilege against self-incrimination,

     thereby obstructing or impeding the proceeding but that

     person does not act corruptly.        In contrast, an individual

     who obstructs or impedes a court proceeding by bribing a

     witness to refuse to testify in that proceeding or by

     engaging in other independently unlawful conduct does act

     corruptly.

                  In addition, the First Amendment to the United

     States Constitution affords people the right to speak,

     assemble, and petition the government for grievances.                 And,

     thus, an individual who does no more than lawfully exercise

     those rights does not act corruptly.          Often acting corruptly

     involves acting with the intent to secure an unlawful
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     advantage or benefit either for one's self or for another

     person.

                 While the defendant must act with intent to

     obstruct the official proceeding, this need not be his sole

     purpose.    A defendant's unlawful intent to obstruct an

     official proceeding is not negated by the simultaneous

     presence of another purpose for his conduct.            However, the

     fact that the defendant's mere presence may have had the

     unintended effect of obstructing or impeding a proceeding

     does not establish both the defendant acted with the intent

     to obstruct or impede that proceeding.

                 "Attempt."    In Count 2, Michael Oliveras was

     alternatively charged with attempt to commit the crime of

     obstruction of an official proceeding.          An attempt to commit

     obstruction of an official proceeding is a crime even if the

     defendant did not actually complete the crime of obstruction

     of an official proceeding.

                 In order to find the defendant guilty of attempt

     to commit an obstruction of an official proceeding you must

     find that the government proved beyond a reasonable doubt

     each of the following two elements:         First, the defendant

     intended to commit the crime of obstruction of an official

     proceeding as that offense is defined above.            Second, the

     defendant engaged in conduct that constituted a substantial

     step toward committing obstruction of an official proceeding
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     it strongly corroborates or confirms that the defendant

     intended to commit that crime.

                 With respect to the first element of attempt, you

     may not find the defendant guilty of attempt to commit

     obstruction of an official proceeding merely because he

     thought about it.     You must find beyond a reasonable doubt

     that the evidence proved beyond a reasonable doubt that the

     defendant's mental state passed beyond the stage of thinking

     about the crime to actually intending to commit it.

                 With respect to the substantial step element, you

     may not find the defendant guilty of attempt to commit

     obstruction of an official proceeding merely because of some

     plans to or some preparation for committing that crime.

     Instead, you must find beyond a reasonable doubt that the

     defendant took some firm, clear, undeniable action to

     accomplish his attempt to commit obstruction of an official

     proceeding.    However, the substantial step element does not

     require the government to prove that the defendant did

     everything except the last act necessary to complete the

     crime.

                 Aiding and abetting.      The government further

     charges that the defendant committed obstruction of an

     official proceeding by aiding and abetting others in

     committing this offense.      This is not a separate offense,

     but merely another way in which the government alleges that
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     the defendant committed this offense in Count 2.

                  A person may be guilty of an offense if he aided

     and abetted another person in committing the offense.                A

     person who has aided and abetted another person in

     committing an offense is often called an "accomplice."                   The

     person who the accomplice aids and abets is known as the

     "principal."    It is not necessary that all of the people who

     committed a crime be caught or identified.           It is sufficient

     if you find beyond a reasonable doubt that the crime was

     committed by someone, and that the defendant knowingly and

     intentionally aided and abetted that person in committing

     the crime.

                  To find the defendant guilty of obstruction of an

     official proceeding in Count 2 because the defendant aided

     and abetted others in committing this offense, you must find

     that the government proved beyond a reasonable doubt the

     following elements:     First, that others committed

     obstruction of an official proceeding by committing each of

     the elements of the offense charged as I have explained

     above; second, that the defendant knew that obstruction of

     an official proceeding was going to be committed or was

     being committed by others; third, that the defendant

     performed an act or acts in furtherance of that offense;

     fourth, that the defendant knowingly performed that act or

     acts for the purpose of aiding, assisting, soliciting,
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     facilitating, or encouraging others in committing the

     offense of obstruction of an official proceeding; fifth,

     that the defendant did that act or acts with the intent that

     others commit the offense of obstruction of an official

     proceeding.

                 To show that the defendant performed an act or

     acts in furtherance of the offense charged, the government

     must prove some affirmative participation by the defendant

     which at least encouraged others to commit the offense.

     That is, you must find that the defendant's act or acts did,

     in some way, aid, assist, facilitate, or encourage others to

     commit the offense.     The defendant's act or acts need not

     further aid, assist, facilitate, or encourage every part or

     phase of the offense charged.       It is enough if the

     defendant's act or acts further aided, assisted,

     facilitated, or encouraged only one or some parts or phases

     of the offense.     Also, the defendant's acts need not

     themselves be against the law.

                 In deciding whether the defendant had the required

     knowledge and intent to satisfy the fourth requirement for

     aiding and abetting, you may consider both direct and

     circumstantial evidence, including the defendant's words and

     actions and other facts and circumstances.           However,

     evidence that the defendant merely associated with persons

     involved in a criminal venture or was merely present or was
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     merely a knowing spectator during the commission of the

     offense is not enough for you to find the defendant guilty

     as an aider and abettor.      If the evidence shows that the

     defendant knew that the offense was being committed or was

     about to be committed but does not also prove beyond a

     reasonable doubt that it was the defendant's intent and

     purpose to aid, assist, encourage, facilitate, or otherwise

     associate the defendant with the offense, you may not find

     the defendant guilty of obstruction of an artificial

     proceeding as aider and abettor.        The government must prove

     beyond a reasonable doubt that the defendant in some way

     participated in the offense committed by others as something

     the defendant wished to bring about and to make succeed.

                 Count 3, assaulting, resisting, or impeding

     officers.

                 Count 3 charges that:      On or about January 6,

     2021, at approximately 4:26 p.m., within the District of

     Columbia, Michael Oliveras did forcibly assault, resist,

     oppose, impede, intimidate, and interfere with an officer,

     an employee of the United States, and any branch of the

     United States government, including any member of the

     uniformed service, and any person assisting such an officer

     employee which such person was engaged in and on account of

     the performance of official duties and where the acts in

     violation of this section involved physical contact with the
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     victim and the intent to commit another felony in violation

     of 18 U.S.C. Section 111(a)(1).

                 Elements for Count 3.

                 To find the defendant guilty of the offense

     charged in Count 3 you must find that the government proved

     each of the following elements beyond a reasonable doubt:

     First, the defendant assaulted, resisted, opposed, impeded,

     intimidated, or interfered with an officer from Metropolitan

     Police Department, United States Capitol Police, or other

     law enforcement agency; second, the defendant did such acts

     forcibly; third, the defendant did such acts voluntarily and

     intentionally; fourth, the person assaulted, resisted,

     opposed, impeded, intimidated, or interfered with was an

     officer or an employee of the United States who was then

     engaged in the performance of his or her official duties or

     assisting officers of the United States who were then

     engaged in the performance of their official duties; fifth,

     the defendant made physical contact with that officer or

     acted with the intent to commit another felony.

                 For purposes of this element, another felony

     refers to the offenses charged in Counts 1 and 2.

                 While the charge is written with an "and," you

     need only decide the defendant either made physical contact

     with that officer or acted with the intent to commit another

     felony.
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                  You are instructed that officers of the

      Metropolitan Police Department were acting in their official

      duties to assist federal officers of the United States

      Capitol Police and in protecting the U.S. Capitol complex on

      January 6, 2021.       It is not necessary to show that the

      defendant knew the person being forcibly assaulted,

      resisted, opposed, impeded, intimidated, or interfered with

      was at that time assisting federal officers in carrying out

      an official duty so long as it is established beyond a

      reasonable doubt that the victim was, in fact, assisting a

      federal officer acting in the course of his duty, and that

      the defendant intentionally forcibly assaulted, resisted,

      opposed, impeded, intimidated, or interfered with that

      officer.

                  Definitions.     A person acts "forcibly" if he

      uses -- if he used force, attempted to use force, or

      threatened to use force against the officer.             Physical force

      or contact is sufficient, but actual physical contact is not

      required.

                  You may also find that a person who has the

      present ability to inflict bodily harm upon another and who

      threatens or attempts to inflict bodily harm upon that

      person acts forcibly.       In such case the threat must be a

      present one.       A threat to use force at some unspecified time

      in the future is not sufficient to establish that the
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      defendant acted forcibly.

                 The term "assault" means any intentional attempt

      to or threat to inflict injury upon someone else when

      coupled with an apparent present ability to do so.            To find

      that the defendant committed an assault you must find beyond

      a reasonable doubt that the defendant intended to inflict or

      to threaten injury.

                 "Injury" means any physical injury, however small,

      including a touch offensive to a person of reasonable

      sensibility.

                 The terms "resist, oppose, impede, intimidate,"

      and "interfere with" carry their every day ordinary meanings.

                 Count 4, entering and remaining in a restricted

      building or grounds.

                 Count 4 charges that:       On or about January 6,

      2021, within the District of Columbia, Michael Oliveras did

      knowingly enter and remain in a restricted building or

      grounds, that is, any posted, cordoned off, and otherwise

      restricted area within the United States Capitol and its

      grounds where the Vice President was and would be

      temporarily visiting without lawful authority to do so in

      violation of 18 U.S.C. Section 1752(a)(1).

                 Elements for Count 4.

                 To find the defendant guilty of the offense

      charged in Count 4, you must find that the government proved
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      each of the following elements beyond a reasonable doubt:

      First, the defendant entered and remained in a restricted

      building or grounds without lawful authority to do so;

      second, the defendant did so knowingly.

                 Where the charge is written with an "and," the

      government must prove beyond a reasonable doubt only that

      the defendant either knowingly entered or knowingly remained

      in a restricted building or grounds without lawful

      authority, or both.

                 Definitions.    "Knowingly" has the same definition

      that I gave you above.

                 The term "restricted building or grounds" means

      any posted, cordoned off, or otherwise restricted area of a

      building or grounds where a person protected by the Secret

      Service is or will be temporarily visiting.

                 The term "person protected by the Secret Service"

      includes the Vice President and the immediate family of the

      Vice President.

                 Count 5, disorderly and disruptive conduct in a

      restricted building or grounds.

                 Count 5 charges that:       On or about January 6,

      2021, within the District of Columbia, Michael Oliveras did

      knowingly and with intent to impede and disrupt the orderly

      conduct of government business and official functions

      engaged in disorderly and disruptive conduct in and within
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      such proximity to a restricted building or grounds, that is,

      any posted, cordoned off, and otherwise restricted area

      within the United States Capitol and its grounds where the

      Vice President was and would be temporarily visiting when

      and so that such conduct did, in fact, impede and disrupt

      the orderly conduct of government business and official

      fictions in violation of 18 U.S.C. Section 1752(a)(2).

                 Elements for Count 5.

                 To find the defendant guilty of the offense

      charged in Count 5 you must find that the government proved

      each of the following elements beyond a reasonable doubt:

      First, the defendant engaged in disorderly or disruptive

      conduct in or in proximity to any restricted building or

      grounds.   While the charge is written with an "and," the

      government must prove beyond a reasonable doubt that the

      defendant engaged in either disorderly or disruptive

      conduct, or both; second, the defendant did so knowingly and

      with intent to impede or disrupt the orderly conduct of

      government business or official functions; third, the

      defendant's conduct occurred when or so that his conduct, in

      fact, impeded or disrupted the orderly conduct of government

      business or official functions.

                 Definitions.    "Knowingly" has the same definition

      that I gave you above.

                 The term "restricted building or grounds" has the
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      same meaning as described for Count 4.

                 "Disorderly conduct" is conduct that tends to

      disturb the public peace or undermine public safety.

      Disorderly conduct includes when a person acts in such a

      manner as to cause another person to be in reasonable fear

      that a person or property in a person's immediate possession

      is likely to be harmed or taken, uses words -- uses words

      likely to produce violence on the part of others or is

      unreasonably loud and disruptive under the circumstances.

                 "Disruptive conduct" is a disturbance that

      interrupts an event, activity, or the normal course of a

      process.

                 Count 6, disorderly conduct in a Capitol Building.

                 Count 6 charges that:       On or about January 6,

      2021, within the District of Columbia, Michael Oliveras

      willfully and knowingly engaged in disorderly and disruptive

      conduct within the United States Capitol grounds in any of

      the Capitol Buildings, with the intent to impede, disrupt,

      and disturb the orderly conduct of a session of Congress, in

      either House of Congress, and the orderly conduct in that

      building of a hearing before or any deliberation of a

      committee of Congress or either House of Congress in

      violation of 40 U.S.C. -- "U.S.C." stands for United States

      Code -- Section 5104(e)(2)(D).

                 Elements for Count 6.
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                   To find the defendant guilty of the offense

      charged in Count 6, you must find that the government proved

      each of the following elements beyond a reasonable doubt:

      First, the defendant engaged in disorderly or disruptive

      conduct in any of the United States Capitol buildings.

                   While the charge is written with an "and," you

      need only decide the defendant was either disorderly or

      disruptive.

                   Second, the defendant did so with the intent to

      impede, disrupt, or disturb the orderly conduct of a session

      of Congress or either House of Congress.           Third, the

      defendant acted willfully and knowingly.

                   "Knowingly" has the same definition that I gave

      you above.

                   The term "Capitol buildings" includes the United

      States Capitol, located at First Street, Southeast, in

      Washington, D.C.

                   The "Capitol grounds" includes the area depicted

      in Government's Exhibit 105.

                   For the purposes of Count 6, orderly conduct in a

      session of Congress or either House of Congress includes the

      actions of the Joint Session of Congress convened on

      January 6, 2021, to certify the Electoral College

      presidential election of 2020.

                   The term "disrupt the orderly conduct" has the
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      same meaning described in the instructions for Count 5

      defining "disorderly conduct" and "disruptive conduct."

                 A person acts "willfully" if he acts with the

      intent to do something that the law forbids, that is, to

      disobey or disregard the law.       Willfully does not, however,

      require proof that the defendant be aware of the specific

      law or rule for this conduct he may be violating.

                 Last count, Count 7:      Parading, demonstrating, or

      picketing in a Capitol Building.

                 Count 7 charges that:       On or about January 6,

      2021, within the District of Columbia, Michael Oliveras

      willfully and knowingly engaged in unlawful parading,

      demonstrating, or picketing in a Capitol Building in

      violation of 40 U.S.C. Section 5104(e)(2)(G).

                 Elements for Count 7.

                 To find the defendant guilty of the offense

      charged in Count 7 you must find that the government proved

      each of the following elements beyond a reasonable doubt:

      First, the defendant paraded, demonstrated, or picketed in

      any of the United States Capitol Buildings; second, the

      defendant acted willfully and knowingly.

                 The terms "parade" and "picket" have their

      ordinary meanings.

                 The term "demonstrate" refers to conduct that

      would disrupt the orderly business of Congress by, for
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      example, impeding or obstructing passageways, hearings, or

      meetings.   It does not include activities such as quiet

      praying.

                  The terms "Capitol Buildings," "knowingly," and

      "willfully" were previously defined.

                  Now, to the end of these instructions.           I am going

      to talk about deliberations and some logistical matters.

                  Each count charges a separate offense.           You should

      consider each offense and the evidence which applies to it

      separately and you should return separate verdicts as to

      each count.    The fact that you may find the defendant guilty

      or not guilty on any one charge should not influence your

      verdict with respect to any other charge.           At any time

      during your deliberations you may return a verdict of guilty

      or not guilty with respect to any count.

                  A verdict must represent the considered judgment

      of each juror and, in order to return a verdict, each juror

      must agree on the verdict.        In other words, your verdict on

      each count must be unanimous.

                  You will be provided with a verdict form for your

      use when you have concluded your deliberations.             The form is

      not evidence in this case, and nothing in it should be taken

      to suggest or convey any opinion by me as to what the

      verdict should be.     Nothing in the form replaces the

      instructions of law as I have given them to you, nothing in
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      it replaces or modifies the instructions about the elements

      which the government must prove beyond a reasonable doubt.

      The form is meant only to assist you in recording your

      verdict.

                 I will be sending into the jury room with you the

      exhibits that have been admitted into evidence.              You may

      examine any or all of them as you consider your verdicts.

      Please keep in mind that any exhibits that were only marked

      for identification but were not admitted into evidence will

      not be given to you to examine or consider in reaching your

      verdict.

                 When you return to the jury room you should first

      select a foreperson to preside over your deliberations and

      to be your spokesperson here in court.             There are no

      specific rules regarding how you as the jury should select a

      foreperson.    That is up to you.     However, as you go about

      this task, be mindful of your mission to reach a fair and

      just verdict based on the evidence.         Consider selecting a

      foreperson who will be able to facilitate your discussions,

      who will help you organize the evidence, and who will

      encourage civility and mutual respect among all of you, who

      will invite each juror to speak up regarding his or her

      views about the evidence, and who will promote a fair and

      full consideration of that evidence.

                 The question of possible punishment of the
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      defendant in the event of a conviction is not a concern for

      you and should not enter into or influence your

      deliberations in any way.         The duty of imposing a sentence

      in the event of a conviction rests exclusively with me.

      Your verdict should be based solely on the evidence in this

      case and you should not consider the matter of punishment at

      all.

                   I would like to remind you that in some cases

      there may be reports on the internet, television, radio, or

      newspaper concerning this case, or other reporting related

      to the events at the U.S. Capitol on January 6, 2021.                  You

      may be tempted to read, listen to, or watch it, and you must

      not read, listen to, or watch such reports because you must

      decide this case solely on the evidence presented in this

      courtroom.    If any publicity about this trial or related

      events inadvertently comes to your attention during the

      deliberations, do not discuss it with other jurors or anyone

      else.   Just let Mr. Coates, the courtroom deputy, know, or

      the court security officer who will be seated outside the

      jury room during your deliberations.           I will then briefly

      discuss it with you.

                   As you retire to the jury room to deliberate, I

      also wish to remind you of an instruction I gave you at the

      beginning of the trial:

                   During your deliberations you must not communicate
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      with or provide any information to anyone by any means about

      the -- by any means about the case.         You may not use any

      electronic device or media, such as a phone, smartphone,

      iPhone, computer, tablet, the internet, or any internet

      service, any text or instant messaging service, any internet

      chat room, blog, or social media service, such as:

      Facebook, LinkedIn, YouTube, Twitter or X, or Instagram to

      communicate to anyone any information about this case or to

      conduct any research about this case until I accept your

      verdict.

                 In other words, you cannot talk to anyone on the

      phone, correspond with anyone, or electronically communicate

      with anyone about the case.       You can only discuss the case

      in the jury room with your fellow jurors during

      deliberations.     I expect you will inform me as soon as you

      become aware of another juror's violation of these

      instructions.

                 You may not use these electronic means to

      investigate or communicate about the case because it is

      important that you decide this case based solely on the

      evidence presented in the courtroom.         Information on the

      internet or available through social media might be wrong,

      incomplete or inaccurate, and you are only permitted to

      discuss this case with your fellow jurors during

      deliberations because they have seen and heard the same
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      evidence you have.

                 In our judicial system it is important that you

      are not influenced by anything or anyone outside the

      courtroom, otherwise your decision may be based on

      information known only by you and not your fellow jurors or

      the parties in the case and that would unfairly and

      adversely affect the judicial process.

                 If it becomes necessary during your deliberations

      to communicate with me, you may send a note by the courtroom

      deputy or court security officer who will be stationed

      outside the jury room, signed by your foreperson or by one

      or more members of the jury.      No member of the jury should

      try to communicate with me except by such a signed note, and

      I will never communicate with any member of the jury on any

      matter concerning the merits of this case except in writing

      or orally here in open court.

                 Bear in mind that you are never, under any

      circumstances, to reveal to any person -- not the clerk, the

      court security officer, or me -- how jurors are voting until

      after you have reached a unanimous verdict.           This means that

      you should never tell me in writing or in open court how the

      jury is divided on any matter, for example:           6-6, or 7-1, or

      11-1, or in any other fashion, whether the vote is for a

      conviction or acquittal or on any other issue in the case.

                 The attitude and conduct of jurors at the
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      beginning of their deliberations are matters of considerable

      importance.    It may not be useful for a juror, upon entering

      the jury room, to voice a strong expression of an opinion on

      the case or to announce a determination to stand for a

      certain verdict.     When one does that at the outset, a sense

      of pride may cause that juror to hesitate to back away from

      an announced position after a discussion of the case.

      Furthermore, many jurors find it useful to avoid an initial

      vote upon retiring to the jury room.          Calmly reviewing and

      discussing the case at the beginning of deliberations is

      often a more useful way to proceed.

                 Remember that you are not partisans or advocates

      in this matter, but you are judges of the facts.

                 All right.    That concludes my instructions.

                 Before I excuse the regular jurors to begin your

      deliberations and have their lunch, which should be in the

      jury room for you, my last task is to excuse the alternate

      jurors.   As I told you before, the selection of alternates

      was an entirely random process, it's nothing personal.                We

      selected two seats to be the alternate seats before any of

      you entered the courtroom.        Since the rest of you have

      remained attentive and healthy, I can now excuse the jurors

      in Seats 13 and 14, the last two seats in the back row.

                 Before you leave, alternates, I am going to ask

      that you tear a page out of your notebook and write your
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      contact information on it.        It's unlikely but it is possible

      that if one of the regular jurors during deliberations has

      to be excused, we might be calling you back to assume a spot

      as a regular juror.      What that means, also, is that I am

      going to ask that you follow my instructions not to talk

      about this case with anyone until you receive a phone call

      from Mr. Coates telling you that a verdict -- that the jury

      has reached verdicts and have been excused, then you are

      free to discuss the case just in case we have to call you

      back.    I want to thank you very much for your service.

                  I will ask the jury to -- you can take your

      notebooks with you and retire to your deliberations while

      the two alternates give their information to Mr. Coates.

                  (Whereupon, the jury was excused.)

                  THE COURT:    All right.     I am sure they're starving

      since it's almost 1:20.      Just make sure that Mr. Coates has

      your contact information so that he can call you in case

      there is a jury note.      And you have to work with Mr. Coates

      now to pull together all of the exhibits, which you have all

      there.   Okay.

                  It's all on a thumb drive?

                  MS. AKERS:    Yes, Your Honor.          We just need to show

      it to Mr. Shipley to confirm.

                  THE COURT:    Okay.    So why don't you do that.            And

      then you have to sign -- I like having exhibit sheets
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      signed -- that everybody has signed off, they have approved

      the exhibits going back to the jury.

                  You will also -- it will take about five, ten

      minutes.    You are going to see the jury version of the

      instructions that I have just read, catching typos that I

      have caught as well; you can look at those.               Then I will

      send 12 copies back with the jury so they each have their

      own copy.

                  All right.     Anything else to cover?

                  MS. AKERS:     No, Your Honor.

                  THE COURT:   Okay.     Mr. Shipley?

                  MR. SHIPLEY:    No, Your Honor.           Thank you.

                  THE COURT:     Okay.

                  (Whereupon, court recessed during deliberations.)

                  THE COURT:   I don't know whether Mr. Coates has

      told you, but we did receive a jury note that the jury has

      reached a verdict.

                  We'll bring the jury in.

                  MR. SHIPLEY:    A note or a verdict?

                  THE COURT:     A note that they have reached a verdict.

                  MR. SHIPLEY:     Okay.

                  (Whereupon, the jury returns to the courtroom.)

                  THE COURT:     Good afternoon, ladies and gentlemen.

      I have received your note that you have reached a verdict.

                  Who on the jury speaks as your foreperson?
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                  (Whereupon, a juror raises his/her hand.)

                  THE COURT:   Okay.      Thank you.

                  I am going to give you a microphone, a hand-held

      mic.   I would ask the jury foreperson to please open your

      envelope.

                  If you could stand and publish your verdict in

      open court.

                  THE FOREPERSON:       Do I have to read each verdict?

                  THE COURT:   I'm sorry?

                  THE FOREPERSON:       Do I have to read each one?

                  THE COURT:   Yes, please.

                  THE FOREPERSON:       Count 1, guilty.

                  Count 2 --

                  THE COURT:   And as to the questions?

                  THE FOREPERSON:       And as to the questions, the

      first question is a yes.

                  The second question is also yes.

                  THE COURT:   And as to Count 2?

                  THE FOREPERSON:       Count 2, guilty.

                  THE COURT:   As to Count 3?

                  THE FOREPERSON:       Count 3, guilty.

                  THE COURT:   As to Count 4?

                  THE FOREPERSON:       Count 4, guilty.

                  THE COURT:   As to Count 5?

                  THE FOREPERSON:       Count 5, guilty.
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                 THE COURT:    As to Count 6?

                 THE FOREPERSON:        Count 6, guilty.

                 THE COURT:    Count 7?

                 THE FOREPERSON:        Guilty.

                 THE COURT:    Thank you.

                 Mr. Coates, could you please take the verdict form.

                 Do either party want the jury polled?

                 MS. AKERS:    No, Your Honor.

                 THE COURT:    Mr. Shipley?

                 MR. SHIPLEY:    Your Honor, we do not request a

      polling.

                 THE COURT:     All right.        Ladies and gentlemen, you

      have been very conscientious this week.              I want to thank you

      very much for your service.

                 Our criminal justice system only works when

      citizens step forward and agree to serve as jurors.                I want

      to thank you very much for your service this week.               With the

      thanks of the entire court, you are now excused.

                 I do take some time to talk to jurors afterwards

      to find out if there is anything we can do better here.                 I

      have a couple of things I need to take up with the parties.

      If any of you have any questions or things you want to

      discuss if you just wait in the jury room, when I finish

      here in five to ten minutes, I will stop by the jury room to

      speak to you if you wish.         Thank you.
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                 (Whereupon, the jury was excused.)

                 THE COURT:    All right.     We need to set a

      sentencing date.

                 I would propose Friday, March 15, 2024, at 9:30.

      Please check your calendars.

                 MR. SHIPLEY:    March?

                 THE COURT:    March, yes.

                 Our probation office is very, very busy.           They are

      now asking for about 110 days to prepare the presentence

      investigation reports.

                 MS. AKERS:     That works for the government, Your

      Honor.

                 THE COURT:     Mr. Shipley.

                 MR. SHIPLEY:    I'm sorry.     My client is asking --

                 THE COURT:    March.    March 15, 2024, at 9:30.

                 Are you available?

                 MR. SHIPLEY:    Yes.     I have a trial with Judge

      Jackson in March, but I don't think it's going to go.

                 THE COURT:    Okay.    I will set that down for the

      sentencing date.

                 Did you get that, Mark?

                 THE COURTROOM DEPUTY:       March 15th.

                 THE COURT:    Right.    At 9:30.

                 All right.     Does the government have any position

      on pretrial release or detention pending sentencing?
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                   MS. AKERS:   The government's position is that the

      defendant can remain on his current release conditions at

      this time.

                   THE COURT:   All right.    So Mr. Oliveras --

                   THE DEFENDANT:   Yes, Your Honor.

                   THE COURT:   -- I will allow you to remain on

      release pending sentencing, but I have to caution you about

      your compliance with your release conditions.

                   You are on the same release conditions that you

      have been on; up to far you have been doing very well on

      those.

                   Let me just caution you also:         If you violate any

      of those terms of release or if you fail to appear for

      sentencing on the March 15, 2024, sentencing date, that

      could result -- failure to appear can result in a separate

      criminal offense so it's very important that you be here on

      that date.

                   If you violate any of the conditions of your

      release you can be subject to revocation of release or a

      separate prosecution for contempt of court.

                   If you are convicted of any new offense committed

      while you are on release pending sentencing, you could be

      subject to an enhanced or an additional term of imprisonment

      and a separate prosecution for committing an offense while

      on release pending sentencing.
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                 Do you understand that?

                 THE DEFENDANT:     I do, Your Honor.

                 THE COURT:     Is there anything further today from

      the government?

                 MS. AKERS:     No, Your Honor.

                 THE COURT:    Anything further from you,

      Mr. Shipley?

                 MR. SHIPLEY:     Nothing.    No, Your Honor.

                 THE COURT:    Nothing further?

                 MR. SHIPLEY:     Nothing.    Thank you.

                 THE COURT:    Okay.    You are all excused.

                 I will see you on March 15.

                 (Whereupon, the proceeding concludes, 3:19 p.m.)

                                   * * * * *

                                  CERTIFICATE

                I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby
      certify that the foregoing constitutes a true and accurate
      transcript of my stenographic notes, and is a full, true,
      and complete transcript of the proceedings to the best of my
      ability.


               This certificate shall be considered null and void
      if the transcript is disassembled and/or photocopied in any
      manner by any party without authorization of the signatory
      below.


          Dated this 11th day of February, 2024.

          /s/ Elizabeth Saint-Loth, RPR, FCRR
          Official Court Reporter
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